      Case 2:23-cv-00051-ABJ Document 33-1 Filed 09/26/23 Page 1 of 137



                                                                                             APPEAL
                               U.S. District Court
                        District of Wyoming (Cheyenne)
                CIVIL DOCKET FOR CASE #: 2:23−cv−00051−ABJ
                                Internal Use Only

Westenbroek et al v Kappa Kappa Gamma Fraternity et al      Date Filed: 03/27/2023
Assigned to: Honorable Alan B Johnson                       Jury Demand: Both
Referred to: Honorable Kelly H Rankin                       Nature of Suit: 190 Contract: Other
Cause: 28:1332 Diversity−Breach of Contract                 Jurisdiction: Diversity
Plaintiff
Jane Doe I                                     represented by Casandra A Craven
individually and                                              LONGHORN LAW LLC
TERMINATED: 04/20/2023                                        PO Box 1769
on behalf of                                                  Cheyenne, WY 82003
Kappa Kappa Gamma Fraternity                                  307/823−3062
                                                              Email: ccraven.law@gmail.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                             John G Knepper
                                                             LAW OFFICE OF JOHN G KNEPPER
                                                             LLC
                                                             Post Office Box 1512
                                                             Cheyenne, WY 82003
                                                             307−632−2842
                                                             Email: John@KnepperLLC.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
Jane Doe II                                    represented by Casandra A Craven
individually and                                              (See above for address)
TERMINATED: 04/20/2023                                        LEAD ATTORNEY
on behalf of                                                  ATTORNEY TO BE NOTICED
Kappa Kappa Gamma Fraternity
                                                             John G Knepper
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Plaintiff
Jane Doe III                                   represented by Casandra A Craven
individually and                                              (See above for address)
TERMINATED: 04/20/2023                                        LEAD ATTORNEY
on behalf of                                                  ATTORNEY TO BE NOTICED
Kappa Kappa Gamma Fraternity
                                                             John G Knepper


                                                                                                  WYD 1
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                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Jane Doe IV                           represented by Casandra A Craven
individually and                                     (See above for address)
TERMINATED: 04/20/2023                               LEAD ATTORNEY
on behalf of                                         ATTORNEY TO BE NOTICED
Kappa Kappa Gamma Fraternity
                                                       John G Knepper
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Jane Doe V                            represented by Casandra A Craven
individually and                                     (See above for address)
TERMINATED: 04/20/2023                               LEAD ATTORNEY
on behalf of                                         ATTORNEY TO BE NOTICED
Kappa Kappa Gamma Fraternity
                                                       John G Knepper
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Jane Doe VI                           represented by Casandra A Craven
individually and                                     (See above for address)
TERMINATED: 04/20/2023                               LEAD ATTORNEY
on behalf of                                         ATTORNEY TO BE NOTICED
Kappa Kappa Gamma Fraternity
                                                       John G Knepper
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Plaintiff
Jane Doe VII                          represented by Casandra A Craven
individually and                                     (See above for address)
TERMINATED: 04/20/2023                               LEAD ATTORNEY
on behalf of                                         ATTORNEY TO BE NOTICED
Kappa Kappa Gamma Fraternity
                                                       John G Knepper
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Plaintiff
                                      represented by

                                                                                 WYD 2
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Jaylyn Westenbroek                                Casandra A Craven
individually and derivatively                     (See above for address)
on behalf of                                      LEAD ATTORNEY
Kappa Kappa Gamma Fraternity                      ATTORNEY TO BE NOTICED

                                                  John G Knepper
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Plaintiff
Hannah Holtmeier                      represented by Casandra A Craven
individually and derivatively                        (See above for address)
on behalf of                                         LEAD ATTORNEY
Kappa Kappa Gamma Fraternity                         ATTORNEY TO BE NOTICED

                                                  John G Knepper
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Plaintiff
Allison Coghan                        represented by Casandra A Craven
individually and derivatively                        (See above for address)
on behalf of                                         LEAD ATTORNEY
Kappa Kappa Gamma Fraternity                         ATTORNEY TO BE NOTICED

                                                  John G Knepper
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Plaintiff
Grace Choate                          represented by Casandra A Craven
individually and derivatively                        (See above for address)
on behalf of                                         LEAD ATTORNEY
Kappa Kappa Gamma Fraternity                         ATTORNEY TO BE NOTICED

                                                  John G Knepper
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

Plaintiff
Madeline Ramar                        represented by Casandra A Craven
individually and derivatively                        (See above for address)
on behalf of                                         LEAD ATTORNEY
Kappa Kappa Gamma Fraternity                         ATTORNEY TO BE NOTICED

                                                  John G Knepper


                                                                               WYD 3
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                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Plaintiff
Megan Kosar                            represented by Casandra A Craven
individually and derivatively                         (See above for address)
on behalf of                                          LEAD ATTORNEY
Kappa Kappa Gamma Fraternity                          ATTORNEY TO BE NOTICED

                                                   John G Knepper
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED


V.
Defendant
Kappa Kappa Gamma Fraternity           represented by Brian W. Dressel
an Ohio non−profit corporation, as a                  VORYS SATER SEYMOUR AND
Nominal and Direct Defendant                          PEASE LLP
                                                      52 E. Gay Street
                                                      Columbus, OH 43215
                                                      614−464−8326
                                                      Fax: 614−719−5241
                                                      Email: bwdressel@vorys.com
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                   Scott P Klosterman
                                                   WILLIAMS PORTER DAY & NEVILLE
                                                   159 North Wolcott, Suite 400
                                                   P O Box 10700
                                                   Casper, WY 82602
                                                   307/265−0700
                                                   Fax: 307/266−2306
                                                   Email: sklosterman@wpdn.net
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Natalie Marie McLaughlin , I
                                                   VORYS SATER SEYMOUR AND
                                                   PEASE LLP
                                                   52 East Gay Street
                                                   Columbus, OH 43215
                                                   614−464−5452
                                                   Fax: 614−719−5252
                                                   Email: nmmclaughlin@vorys.com
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                                                   WYD 4
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Defendant
Kappa Kappa Gamma Fraternity         represented by Brian W. Dressel
Council President                                   (See above for address)
in her official capacity                            LEAD ATTORNEY
also known as                                       PRO HAC VICE
Mary Pat Rooney                                     ATTORNEY TO BE NOTICED

                                                   Scott P Klosterman
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Natalie Marie McLaughlin , I
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

Defendant
Kappa Kappa Gamma Building Co        represented by Brian W. Dressel
a Wyoming non−profit corporation                    (See above for address)
TERMINATED: 08/25/2023                              LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                   Scott P Klosterman
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Natalie Marie McLaughlin , I
                                                   (See above for address)
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

Defendant
Terry Smith
TERMINATED: 04/20/2023

Defendant
Artemis Langford                     represented by Rachel M Berkness
                                                    FREEBURG LAW
                                                    235 E BROADWAY AVE #103
                                                    Jackson, WY 83001
                                                    307−223−8612
                                                    Email: rachel@tetonattorney.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED


 Date Filed   #    Docket Text

                                                                                      WYD 5
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09/25/2023   32   NOTICE OF APPEAL as to 31 Order on Motion to Dismiss,,, Order on Motion to
                  Dismiss Party,, filed by Plaintiffs Grace Choate, Allison Coghan, Hannah Holtmeier,
                  Megan Kosar, Madeline Ramar, Jaylyn Westenbroek. (Attachments: # 1 Exhibit 1)
                  (Craven, Casandra) (Additional attachment(s) added due to corrupt document on
                  9/26/2023: # 2 Exhibit 1) (Court Staff, stbd). Modified on 9/26/2023 (Court Staff,
                  stbd). (Entered: 09/25/2023)
08/25/2023   31   ORDER by the Honorable Alan B. Johnson granting 19 Motion to Dismiss, dismissing
                  without prejudice 6 Amended Complaint, dismissing as moot 22 Motion to Dismiss
                  Party. Plaintiffs' claims fail. Pursuant to Fed. R. Civ. P. 12(b)(1), Defendant KKG
                  Building Co is dismissed. Pursuant to Fed. R. Civ. P. 12(b)(6), Plaintiffs' four claims
                  against Defendants KKG and Rooney are dismissed without prejudice. (Court Staff,
                  sbh) Modified text on 8/25/2023 (Court Staff, sbh). Modified to Opinion document
                  type on 8/28/2023 (Court Staff, sbh). (Entered: 08/25/2023)
07/28/2023   30   CORPORATE DISCLOSURE filed by Kappa Kappa Gamma Fraternity.
                  (McLaughlin, Natalie) (Entered: 07/28/2023)
07/28/2023   29   CORPORATE DISCLOSURE filed by Kappa Kappa Gamma Building Co.
                  (McLaughlin, Natalie) (Entered: 07/28/2023)
07/27/2023   28   Notice requiring Defendants Kappa Kappa Gamma Fraternity to Submit a Disclosure
                  Statement in accordance with Fed.R.Civ.P. 7.1(b). Disclosure Statement Due: July 31,
                  2023. (Court Staff, szf) (Entered: 07/27/2023)
07/12/2023   27   REPLY to 25 Response in Opposition to Motion to Dismiss with Prejudice filed by
                  Defendant Artemis Langford. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)
                  (Berkness, Rachel) (Entered: 07/12/2023)
07/12/2023   26   REPLY to 24 Response in Opposition to Motion filed by Defendants Kappa Kappa
                  Gamma Building Co, Kappa Kappa Gamma Fraternity, Kappa Kappa Gamma
                  Fraternity Council President. (Dressel, Brian) (Entered: 07/12/2023)
07/05/2023   25   First RESPONSE in Opposition re 22 MOTION to Dismiss Party Artemis Langford
                  filed by Plaintiffs Jaylyn Westenbroek, Madeline Ramar, Megan Kosar, Hannah
                  Holtmeier, Allison Coghan and Grace Choate. (Knepper, John) Modified filers and
                  text on 7/6/2023 (Court Staff, sjlg). (Entered: 07/05/2023)
07/05/2023   24   First RESPONSE in Opposition re 19 MOTION to Dismiss filed by Plaintiffs Jaylyn
                  Westenbroek, Madeline Ramar, Megan Kosar, Hannah Holtmeier, Allison Coghan and
                  Grace Choate. (Knepper, John) Modified text and filers on 7/6/2023 (Court Staff, sjlg).
                  (Entered: 07/05/2023)
06/20/2023   23   MEMORANDUM in Support of 22 Motion to Dismiss Party filed by Defendant
                  Artemis Langford. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Supplement, # 4
                  Supplement) (Berkness, Rachel) (Attachment 1 and Attachment 2 flattened and
                  replaced on 6/21/2023) (Court Staff, stmo). Modified text on 6/21/2023 (Court Staff,
                  stmo). (Entered: 06/20/2023)
06/20/2023   22   MOTION to Dismiss Party Artemis Langford filed by Defendant Artemis Langford.
                  (Berkness, Rachel) (Entered: 06/20/2023)
06/20/2023   21   NOTICE of Attorney Appearance by Rachel M Berkness on behalf of Artemis
                  Langford (Berkness, Rachel) (Entered: 06/20/2023)
06/20/2023   20


                                                                                                    WYD 6
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                  MEMORANDUM in Support of 19 Motion to Dismiss filed by Defendants Kappa
                  Kappa Gamma Building Co, Kappa Kappa Gamma Fraternity, Kappa Kappa Gamma
                  Fraternity Council President. (McLaughlin, Natalie) (Entered: 06/20/2023)
06/20/2023   19   MOTION to Dismiss filed by Defendants Kappa Kappa Gamma Building Co, Kappa
                  Kappa Gamma Fraternity, Kappa Kappa Gamma Fraternity Council President.
                  (McLaughlin, Natalie) (Entered: 06/20/2023)
06/09/2023   18   NOTICE of Pro Hac Vice Attorney Appearance by Brian W. Dressel on behalf of
                  Kappa Kappa Gamma Building Co, Kappa Kappa Gamma Fraternity, Kappa Kappa
                  Gamma Fraternity Council President (Dressel, Brian) Modified text on 6/9/2023
                  (Court Staff, stmo). (Entered: 06/09/2023)
06/08/2023        FINANCIAL ENTRY: $100 PRO HAC VICE FEES PAID ON BEHALF OF
                  NATALIE M. MCLAUGHLIN AND BRIAN W. DRESSEL ($200 RECEIVED
                  RECEIPT NO. 2−1633) (Court Staff, stmo) (Entered: 06/08/2023)
06/08/2023   17   Notice of Pro Hac Vice Attorney Appearance by Natalie Marie McLaughlin, I on
                  behalf of Kappa Kappa Gamma Building Co (McLaughlin, Natalie) (Entered:
                  06/08/2023)
06/07/2023   16   Notice of Pro Hac Vice Attorney Appearance by Natalie Marie McLaughlin, I on
                  behalf of Kappa Kappa Gamma Fraternity, Kappa Kappa Gamma Fraternity Council
                  President (McLaughlin, Natalie) (Entered: 06/07/2023)
06/05/2023   15   ORDER by the Honorable Kelly H. Rankin granting 13 , 14 MOTIONS for Natalie M.
                  McLaughlin and Brian W. Dressel to appear pro hac vice on behalf of Defendants
                  Kappa Kappa Gamma Building Co, Kappa Kappa Gamma Fraternity Council
                  President, Kappa Kappa Gamma Fraternity (Order emailed to phv counsel on this
                  date) (Court Staff, sbh) (Entered: 06/05/2023)
06/05/2023   14   MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Brian W. Dressel to
                  appear pro hac vice; Check not tendered; filed by Defendants Kappa Kappa Gamma
                  Building Co, Kappa Kappa Gamma Fraternity, Kappa Kappa Gamma Fraternity
                  Council President. (Attachments: # 1 Affidavit, # 2 Proposed Order)(Klosterman,
                  Scott) (Entered: 06/05/2023)
06/05/2023   13   MOTION REFERRED TO Judge Kelly H Rankin. MOTION for Natalie M.
                  McLaughlin to appear pro hac vice; Check not tendered; filed by Defendants Kappa
                  Kappa Gamma Building Co, Kappa Kappa Gamma Fraternity, Kappa Kappa Gamma
                  Fraternity Council President. (Attachments: # 1 Affidavit, # 2 Proposed
                  Order)(Klosterman, Scott) (Entered: 06/05/2023)
06/05/2023   12   NOTICE of Attorney Appearance by Scott P Klosterman on behalf of Kappa Kappa
                  Gamma Building Co, Kappa Kappa Gamma Fraternity, Kappa Kappa Gamma
                  Fraternity Council President (Klosterman, Scott) (Entered: 06/05/2023)
04/25/2023   11   WAIVER OF SERVICE Returned Executed by Jaylyn Westenbroek, Grace Choate,
                  Madeline Ramar, Allison Coghan, Megan Kosar, Hannah Holtmeier. Kappa Kappa
                  Gamma Building Co 4/21/2023, answer due 6/20/2023 (Knepper, John) Modified
                  filers and text on 4/26/2023 (Court Staff, stmo). Corrected filers and text on 4/27/2023
                  (Court Staff, sbh). (Entered: 04/25/2023)
04/25/2023   10   WAIVER OF SERVICE Returned Executed by Jaylyn Westenbroek, Grace Choate,
                  Madeline Ramar, Allison Coghan, Megan Kosar, Hannah Holtmeier. Kappa Kappa
                  Gamma Fraternity Council President 4/21/2023, answer due 6/20/2023 (Knepper,

                                                                                                     WYD 7
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                 John) Modified filers and text on 4/26/2023 (Court Staff, stmo). Corrected filers and
                 text on 4/27/2023 (Court Staff, sbh). (Entered: 04/25/2023)
04/25/2023   9   WAIVER OF SERVICE Returned Executed by Jaylyn Westenbroek, Grace Choate,
                 Madeline Ramar, Allison Coghan, Megan Kosar, Hannah Holtmeier. Kappa Kappa
                 Gamma Fraternity 4/21/2023, answer due 6/20/2023 (Knepper, John) Modified filers
                 and text on 4/26/2023 (Court Staff, stmo). Corrected filers and text on 4/27/2023
                 (Court Staff, sbh). (Entered: 04/25/2023)
04/21/2023   8   WAIVER OF SERVICE Returned Executed by Grace Choate, Jaylyn Westenbroek,
                 Madeline Ramar, Allison Coghan, Megan Kosar, Hannah Holtmeier. Artemis
                 Langford 4/21/2023, answer due 6/20/2023 (Knepper, John) (Entered: 04/21/2023)
04/21/2023   7   Praecipes for Summons filed by Plaintiffs Grace Choate, Allison Coghan, Hannah
                 Holtmeier, Megan Kosar, Madeline Ramar, Jaylyn Westenbroek, 4 issued (Court Staff,
                 sbh) (Entered: 04/21/2023)
04/20/2023   6   AMENDED COMPLAINT with Jury Demand Jaylyn Westenbroek, Hannah
                 Holtmeier, Allison Coghan, Grace Choate, Madeline Ramar and Megan Kosar on
                 behalf of themselves and derivatively on behalf of Kappa Kappa Gamma Fraternity
                 against Defendants Kappa Kappa Gamma Building Co, Kappa Kappa Gamma
                 Fraternity, Kappa Kappa Gamma Fraternity Council President, Terry Smith filed by
                 Jane Doe IV, Jane Doe III, Jane Doe I, Jane Doe II, Jane Doe V, Jane Doe VI, Jane
                 Doe VII. (Attachments: # 1 Exhibit Attachments) (Knepper, John) (Entered:
                 04/20/2023)
04/14/2023   5   ORDER by the Honorable Alan B. Johnson denying 4 Renewed Motion to Proceed
                 Anonymously. In accordance with this Court's prior Order, the Court grants Plaintiffs
                 leave until April 20, 2023, to file an amended complaint that substitutes Plaintiffs' real
                 names. (Court Staff, sbh) (Entered: 04/14/2023)
04/07/2023   4   Renewed MOTION to Proceed Anonymously filed by Plaintiffs Jane Doe IV, Jane
                 Doe III, Jane Doe I, Jane Doe II, Jane Doe V, Jane Doe VI, Jane Doe VII (Craven,
                 Casandra) (Additional attachment(s) added on 4/7/2023: # 2 Proposed Order) (Court
                 Staff, sbh). Removed restriction and modified event and text on 4/7/2023 (Court Staff,
                 sbh). (Additional attachment(s) added on 4/7/2023: # 1 Replaced Document −
                 Renewed Motion) (Court Staff, stmo). (Unable to open original pleading. Pleading
                 replaced on on 4/7/2023 and Modified text on 4/7/2023. (Court Staff, stmo).
                 Attachments renamed on 4/7/2023. (Court Staff, szf) Modified text on 4/7/2023 (Court
                 Staff, stmo). (Entered: 04/07/2023)
04/06/2023   3   ORDER by the Honorable Alan B. Johnson denying 2 Motion to Proceed
                 Anonymously. The Court grants Plaintiffs leave until April 20, 2023, to file an
                 amended complaint that substitutes Plaintiffs' real names. (Court Staff, sbh) (Entered:
                 04/06/2023)
03/29/2023       Motions No Longer Referred: 2 MOTION for Order Proceed Anonymously (Court
                 Staff, ssw) (Entered: 03/29/2023)
03/27/2023   2   Motion Referred to Magistrate Judge MOTION to Proceed Anonymously filed by
                 Plaintiffs Jane Doe I, Jane Doe II, Jane Doe III, Jane Doe IV, Jane Doe V, Jane Doe
                 VI, Jane Doe VII. (Court Staff, szf) Modified docket text on 3/28/2023 (Court Staff,
                 szf). Modified docket text on 3/29/2023 (Court Staff, szf). Modified on 3/29/2023 to
                 unrefer motion (Court Staff, ssw). Modified on 3/29/2023 (Court Staff, sbh). (Entered:
                 03/28/2023)


                                                                                                       WYD 8
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03/27/2023   1   VERIFIED MEMBER DERIVATIVE COMPLAINT FOR BREACH OF
                 FIDUCIARY DUTIES WITH JURY DEMAND filed by Jane Doe IV, Jane Doe III,
                 Jane Doe I, Jane Doe II, Jane Doe V, Jane Doe VI, Jane Doe VII. (Filing fee $402
                 Receipt #CHY 2−1291) (Attachments: # 1 Continuation of Document #1 (Complaint
                 and Attachments), # 2 Civil Cover Sheet, # 3 Consent to Proceed Before US
                 Magistrate Judge) (Court Staff, szf) (Entered: 03/28/2023)




                                                                                              WYD 9
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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF WYOMING

 JAYLYN WESTENBROEK, et al., on                     )
 behalf of themselves and derivatively on           )
 behalf of KAPPA KAPPA GAMMA                        )
 FRATERNITY,                                        )
                       Plaintiffs,                  )
                                                    )
                                                    )         CASE NO. 2:23-cv-00051-ABJ
                v.                                  )
                                                    )
 KAPPA KAPPA GAMMA FRATERNITY,                      )
 et al.,                                            )
                                                    )
                        Defendants.                 )


                                      NOTICE OF APPEAL

       Pursuant to 28 U.S.C. § 1291 and Rule 4(a)(1) of the Federal Rules of Appellate Procedure,

Plaintiffs Jaylyn Westenbroek, Hannah Holtmeier, Allison Coghan, Grace Choate, Madeline

Ramar, and Megan Kosar, derivatively on behalf of Kappa Kappa Gamma Fraternity, hereby

provide notice of their appeal to the United States Court of Appeals for the Tenth Circuit from the

final order entered by the district court on August 25, 2023 granting Defendants’ motion to dismiss,

insofar as that Order concerns Defendants Kappa Kappa Gamma Fraternity, Mary Pat Rooney,

and Kappa Kappa Gamma Building Co. See Order (ECF No. 31), Ex. 1. Plaintiffs are not pursuing

any claims against Defendant Artemis Langford.




                                                                                                       WYD 10
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Respectfully submitted,


/s/ Cassie Craven_________                   /s/ John Knepper
Cassie Craven, 7-5664                        John Knepper
Longhorn Law Limited Liability Company       Law Office of John G. Knepper, LLC
109 E. 17th St., Suite 11                    P.O. Box 1512
Cheyenne, Wyoming 82001                      Cheyenne, Wyoming 82003
307-823-3062                                 307-632-2842
cassie@longhornlawllc.com                    John@KnepperLLC.com



Dated September 25, 2023




                                         2


                                                                                  WYD 11
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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 25, 2023, a copy of the foregoing Notice of Appeal was

filed electronically. Notice of this filing will be sent to all parties for whom counsel has entered

an appearance by operation of the court’s electronic filing system. Parties may access this filing

through the Court’s system.


 Respectfully submitted,


 /s/ Cassie Craven_________                          /s/ John Knepper
 Cassie Craven, 7-5664                               John Knepper
 Longhorn Law Limited Liability Company              Law Office of John G. Knepper, LLC
 109 E. 17th St., Suite 11                           P.O. Box 1512
 Cheyenne, Wyoming 82001                             Cheyenne, Wyoming 82003
 307-823-3062                                        307-632-2842
 cassie@longhornlawllc.com                           John@KnepperLLC.com




                                                 3


                                                                                                       WYD 12
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                  EXHIBIT 1




                                                                     WYD 13
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                                                                              FILED




                    IN THE UNITED STATES DISTRICT COURT
                                                                           3:17 pm, 8/25/23
                            FOR THE DISTRICT OF WYOMING
                                                                        Margaret Botkins
                                                                         Clerk of Court

 JAYLYN WESTENBROEK, HANNAH
 HOLTMEIER, ALLISON COG HAN,
 GRACE CHOATE, MADELINE
 RAMAR, and MEGAN KOSAR, on
 behalf of themselves and derivatively on
 behalf of KAPPA KAPPA GAMMA
 FRATERNITY,

              Plaintiffs,
       V.                                          Case No. 23-CV-51-ABJ

KAPPA KAPPA GAMMA
FRATERNITY, an Ohio non-profit
corporation, as a Nominal Defendant and
as a Direct Defendant, MARY PAT
ROONEY, President of the Fraternity
Council of KAPP A KAPP A GAMMA
FRATERNITY, in her official capacity,
KAPPA KAPPA GAMMA BUILDING
CO., a Wyoming non-profit corporation,
and ARTEMIS LANGFORD,

              Defendants.


  ORDER GRANTING DEFENDANTS' MOTION TO DISMISS (ECF NO. 19),
   DISMISSING, WITHOUT PREJUDICE, PLANTIFFS' FIRST AMENDED
     VERIFIED MEMBER DERIVATIVE COMPLAINT FOR BREACH OF
      FIDUCIARY DUTIES (ECF NO. 6), AND DISMISSING AS MOOT
 DEFENDANT ARTEMIS LANGFORD'S MOTION TO DISMISS (ECF NO. 22)


      THIS MATIER comes before the Court following Defendants', Kappa Kappa

Gamma Fraternity, an Ohio non-profit corporation ("KKG", "Kappa Kappa Gamma", or

"Kappa"), Mary Pat Rooney, President of the Fraternity Council of Kappa Kappa Gamma
                                            1




                                                                                              WYD 14
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Fraternity ("Rooney"), and Kappa Kappa Gamma Building Co., a Wyoming non-profit

corporation ("KKG Building Co.") (collectively, "Defendants"), Motion to Dismiss, filed

on June 20, 2023. ECF No. 19. Pursuant to Fed. R. Civ. P. 12(b)(l), (2), and (6), Defendants

move to dismiss Plaintiffs', Jaylyn Westenbroek, Hannah Holtmeier, Allison Coghan,

Grace Choate, Madeline Ramar, and Megan Kosar (collectively, "Plaintiffs"), First

Amended Verified Member Derivative Complaint for Breach of Fiduciary Duties

("Complaint") (ECF No. 6), due to lacking subject matter jurisdiction over KKG Building

Co., lacking personal jurisdiction over Rooney, and Plaintiffs' failure to state a claim upon

which relief can be granted. ECF Nos. 19, at 2; 20.

       Having reviewed the filings, the applicable law, and being otherwise fully advised,

the Court GRANTS Defendants' Motion to Dismiss (ECF No. 19) and DISMISSES,

WITHOUT PREJUDICE, Plaintiffs' Complaint (ECF No. 6).

       Separately, the Court DISMISSES AS MOOT Defendant's, Artemis Langford

("Langford"), Motion to Dismiss with Prejudice ("Langford's Motion to Dismiss") (ECF

No. 22), filed on June 20, 2023.


                                      BACKGROUND

       Embittered by their chapter's admission of Artemis Langford, a trans gender woman,

six KKG sisters at the University of Wyoming sue their national sorority and its president.

Plaintiffs, framing the case as one of first impression, ask the Court to, inter alia, void their

sorority sister's admission, find that KKG's President violated her fiduciary obligations by

betraying KKG's bylaws, and prevent other transgender women from joining KKG


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nationwide. A "woman", say Plaintiffs, is not a transgender woman. Unadorned, this case

condenses to this: who decides whether Langford is a Kappa Kappa Gamma sister? Though

given the opportunity to vote this past fall, not the six Plaintiffs. Not KKG's Fraternity

Council. Not even this federal Court. The University of Wyoming chapter voted to admit

- and, more broadly, a sorority of hundreds of thousands approved - Langford. With its

inquiry beginning and ending there, the Court will not define "woman" today. The delegate

of a private, voluntary organization interpreted "woman", otherwise undefined in the non-

profit's bylaws, expansively; this Judge may not invade Kappa Kappa Gamma's freedom

of expressive association and inject the circumscribed definition Plaintiffs urge. Holding

that Plaintiffs fail to plausibly allege their derivative, breach of contract, tortious

interference, and direct claims, the Court dismisses, without prejudice, Plaintiffs' causes

of action. This Court outlines the case's posture, 1 its standard of review, and its disposition

in the pages that follow.

       Founded in 1870, Kappa Kappa Gamma is a non-profit organization based in

Dublin, Ohio. ECFNos. 6, ,r,r21, 25, 28; 6-1, at 49, 55-56. 2 Today, KKG spans 140 college



1
  Recounting the pertinent facts, infra, the Court wades through a well-researched, yet
meandering, complaint; for example, despite a seventy-two-page complaint excluding
attachments, Plaintiffs devote four-and-a-half pages to their actual claims. Only the facts relevant
to the four claims Plaintiffs bring against Defendants are outlined today. Those facts are accepted
as true for the purpose of resolving the motion at bar. ECF No. 6; see also ECF Nos. 20, 24, 26.
The Court also looks to documents attached as exhibits to Plaintiffs' Complaint. See Fed. R. Civ.
P. 10(c) ("A copy of a written instrument that is an exhibit to a pleading is a part of the pleading
for all purposes."); Hall v. Bellmon, 935 F.2d 1106, 1112 (10th Cir. 1991) ("A written document
that is attached to the complaint as an exhibit is considered part of the complaint and may be
considered in a Rule 12(b)(6) dismissal.") (internal citations omitted).
2
  KKG filed its Articles ofIncorporation with the Ohio Secretary of State in 1930. ECF No. 6-1,
at 56.
                                                 3




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campuses and boasts 210,000 living alumnae. ECF No. 6, 1 26. Of note are policies from

KKG's national headquarters and the University of Wyoming's KKG chapter; bear with

me as I summarize both. Broadly, KKG's "purposes", inter alia, are:

               A. To unite women, through membership, in a close bond of friendship,
                  seeking to instill in them a spirit of mutual love and helpfulness, to the
                  end that each member and the Fratemity-at-large[31 may attain social,
                  moral, and intellectual excellence;
               B. To establish chapters at various colleges and universities, provide for the
                  proper organization, installation, and operation, with each chapter having
                  the right and responsibility to select members ofits choice in accordance
                  with Fraternity standards and procedures[.]

ECF No. 6-1, at 52 (emphasis added). KKG has Bylaws ("bylaws"), Standing Rules, 4 and

Fraternity Policies. ECF Nos. 6, 1 53; 6-1, at 2-30, 109-38, 140-61. While the KKG

bylaws state that "[a] new member shall be a woman", no bylaw defines "woman". ECF

No. 6-1, at 6. 5

       In 2018, KKG published a Guide for Supporting our LGBTQIA+ Members ("2018

Guide"). 6 ECF Nos. 6, 15; 6-1, at 32--43. The 2018 Guide states:

               Kappa Kappa Gamma is a single-gender organization comprised of women
               and individuals who identify as women whose governing documents do not
               discriminate in membership selection except by requiring good scholarship
               and ethical character.

3
  KKG considers itself a "fraternity" in its governing documents. E.g., ECF No. 6-1, at 5.
However, emulating Plaintiffs and our national discourse, the Court refers to KKG as a
"sorority".
4
  The Standing Rules state that "[a]ctive members shall be responsible for selecting new
members of their chapter." ECF No. 6-1, at 111.
5
  When a new member, following acceptance of a local chapter's invitation, accepts admission to
KKG and annually thereafter, she pledges to "uphold the [KKG] Bylaws, Standing Rules and
Policies as well as [her] chapter Bylaws and Standing Rules." ECF No. 6-1, at 163.
6
  The parties dispute when KKG began to allow transgender women to qualify for membership.
While Defendants allege that Kappa has allowed transgender women admission since 2015,
Plaintiffs respond that "there is no evidence of this fact." See ECF Nos. 20, at 3; 24, at 3. The
parties agree that KKG published its Guide in 2018. See ECF Nos. 6, ,r 5; 20, at 4.
                                                4




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               Each Kappa chapter has the final choice of its own members. . . . [T]he
               chapter is well within its right to offer [a] potential member [who is
               transgender] a bid.

ECF No. 6-1, at 32, 35 (emphasis added). While KKG's bylaws do not reflect the "and

individuals who identify as women" addition, accompanying documents, including KKG's

Position Statements 1 in 2021 and FAQs 8 in 2022, both published ahead of KKG's 2022

biennial convention, do. Id. at 105 (same language supra), 183 (same); cf id. at 2-30, 58-

86.9 An Illinois resident and volunteer, Rooney heads KKG's eight-member Fraternity

Council, consisting of directors and by extension staff tasked with supervising chapters

nationwide. ECF Nos. 6, ,r,r 22, 71; 26, at 3. 10 Plaintiffs equate KKG's Fraternity Council

to a corporation's board of directors. E.g., ECF No. 6, ,r 4.


7 The Position Statements also note that "[e Jach chapter of Kappa Kappa Gamma has the final

choice of its own members." ECF No. 6-1, at 183.
8
 The FAQs state:
       We also look to NPC [National Panhellenic Conference ("NPC")] policy as an NPC
       member organization. The NPC Recruitment Eligibility (2020) policy states: 'For the
       purpose of participation in Panhellenic recruitment, woman is defined as an individual who
       consistently lives and self-identifies as a woman. Each women's-only NPC member
       organization determines its own membership selection policies and procedures.'

        Why are we including gender-neutral pronouns in the revised documents?
        This change is coming from a Convention resolution that formed Kappa's Diversity, Equity
        and Inclusion Committee. Kappa Kappa Gamma was founded 150 years ago on the
        principles of integrity, respect and regard for others. Kappa has reflected on the path
        forward, and we are beginning with actions that speak to our belief that all members are
         valued. This is one of those action steps. We want to be as inclusive of all members as we
         can be.
ECF No. 6-1, at 105 (emphasis in original and added).
9
  See also ECF No. 6-1, at 59 ("lnclusivity. Since diversity, equity and inclusion have been a
focus and the subject of a previous resolution at [the] Convention, a concerted effort has been
made to make sure the language of the documents is inclusive.").
10
   See also Kappa Kappa Gamma Fraternity Council, available at:
https://www.kappakappagamma.org/why-kappa/our-leadership-team/fratemity-council/
(accessed Aug. 25, 2023).
                                                5




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        Founded in 1927, the KKG, or Gamma Omicron, chapter at the University of

Wyoming ("the UW chapter") has forty-four members and an on-campus house today.

ECF Nos. 6, ,r 78; 6-1, at 200. Plaintiffs 11 are six - some current and some graduated -

chapter members and undergraduates at the University. ECF Nos. 6, ,r,r 1, 15-20; 20, at 1.

Because KKG headquarters has a "live-in rule", all UW chapter members must reside

within the on-campus house in Laramie, Wyoming, signing a contract with KKG Building

Co. 12 to do so. ECF No. 6-1, at 148, 165-76. Like KKG's governing documents, neither

the UW chapter's Bylaws, 13 nor its Standing Rules, define "woman". Id. at 185-98, 200-

09.

        During fall 2022 recruitment, the UW chapter voted to admit Langford, a

transgender 14 woman. ECF No. 6, ,r 116. Per KKG protocol, Langford was subsequently

approved by KKG headquarters prior to her initiation to the chapter. Id., ,r,r 68, 139, 141;




11
   In accordance with Tenth Circuit guidance, the Court twice denied Plaintiffs' request to
proceed anonymously in this matter. ECF Nos. 3, 5. On April 20, 2023, complying with the
Court's instruction, Plaintiffs filed an amended complaint featuring their true names. ECF No. 6.
12
   Though not seeking damages from KKG Building Co., Plaintiffs allege that KKG Building
Co. is a Fed. R. Civ. P. 19(a)(l)(B) required party to this action because five Plaintiffs signed
housing contracts with KKG Building Co. for the 2022-23 academic year. ECF No. 6, ,r,r 23, 84.
13
   The UW chapter Bylaws state that membership "shall be in accordance with the provisions of
the Fraternity [i.e., KKG] Bylaws." ECF No. 6-1, at 200.
14
   "Transgender" is a broad, umbrella term that is often used for individuals whose brain sex,
gender identity, or gender expression either does not or is perceived not to match the physical
sex they were assigned at birth. See Stevie V. Tran & Elizabeth M. Glazer, Transgenderless, 35
HARV. J.L. & GENDER 399, 399 n.l (2012).
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ECF No. 6-1, at 120. Following Langford's admission, Plaintiffs accuse Langford 15 of

salacious impropriety at the chapter house and elsewhere. 16

        Plaintiffs' four claims include: (1) a derivative 17 cause of action, pursuant to Ohio

Rev. Code Ann.§ 1702.12(I)(l)(c), 18 against Rooney (ECF No. 6, ,r,r 159-67) ("Count I");

(2) breach of contract against KKG and KKG Building Co. (id., ,r,r 168-72) ("Count II");

(3) tortious interference with a contract against KKG (id., ,r,r 173-75) ("Count III"); and

(4) a direct 19 cause of action against KKG and Rooney (id., ,r,r 176-79) ("Count IV").

Plaintiffs request three declaratory judgments from this Court, ordering: ( 1) that Langford

is ineligible for KKG membership and voiding, ab initio, her admission; (2) Defendants'

violation of their obligations to KKG by admitting Langford; and (3) Defendants' violation

of Plaintiffs' housing contracts. Id. at 70. Plaintiffs also seek preliminary and permanent


15
   Like KKG Building Co., Plaintiffs do not seek damages or relief from Langford, but label her
a Fed. R. Civ. P. 19(a)(l)(B) required party. ECF No. 6, ,I I n.2.
16
   Given Plaintiffs' dual dearth of claims against Langford and their inability to connect their
allegations concerning Langford's behavior to their four causes of action against the remaining
Defendants, the Court sees no reason to recount Plaintiffs' peripheral allegations against
Langford.
17
   A derivative cause of action against an Ohioan non-profit corporation "seeks to vindicate the
duty owed by the board of the corporation to the corporation as a whole and not a duty that is
owed to a particular member or shareholder." Wood v. Cashelmara Condo. Unit Owners Ass 'n,
Inc., No. 110696, 2022 WL 1422807, at *4--5 (8th Dist. May 5, 2022).
18
   Ohio law provides members of non-profit corporations with a derivative cause of action on
behalf of the corporation; § 1702.12, inter alia, states:
        (I)(l) No lack of, or limitation upon, the authority of a corporation shall be asserted in
        any action except as follows:

                (c) By a member as such or by or on behalf of the members against the
                corporation, a director, an officer, or a member as such.
Ohio Rev. Code Ann.§ 1702.12(1)(l)(c); see also ECF No. 6, ,I 46.
19
   "A shareholder brings a derivative action on behalf of the corporation for injuries sustained by
or wrongs done to the corporation, and a shareholder brings a direct action where the shareholder
is injured in a way that is separate and distinct from the injury to the corporation." HER, Inc. v.
Parenteau, 147 Ohio App. 3d 285,291 (10th Dist. 2002).
                                                 7




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injunctive relief preventing Defendants from "seeking or encouraging" transgender women

to join KKG, damages, and attorneys' fees and costs. Id. 20


                                STANDARD OF REVIEW

        Defendants challenge Plaintiffs' Complaint on three bases-and three Federal Rules

of Civil Procedure. I begin with a dose of procedural background; federal courts are courts

of limited jurisdiction. See Kokkonen v. Guardian Life Ins. Co. ofAm., 511 U.S. 375,377

(1994). Accordingly, federal courts are presumed to lack jurisdiction "unless and until a

plaintiff pleads sufficient facts to establish it." See Celli v. Shoell, 40 F.3d 324, 327 (10th

Cir. 1994) (internal citation omitted). If jurisdiction is challenged, the party asserting

jurisdiction must demonstrate its existence by a preponderance of the evidence. See id.

First, when considering a Fed. R. Civ. P. 12(b)(l) challenge to subject matter jurisdiction

and the movant challenges the allegations set forth in the complaint, the Court must accept

those allegations as true. See Holt v. United States, 46 F .3d 1000, 1002-03 (I 0th Cir. 1995),

abrogated on other grounds by Cent. Green Co. v. United States, 531 U.S. 425, 437 (2001 ).

Second, Plaintiffs bear the burden of establishing personal jurisdiction. See Far W Cap.,

Inc. v. Towne, 46 F.3d 1071, 1075 (10th Cir. 1995). If, however, the Court resolves the

pending motion on the basis of their Complaint, Plaintiffs need only make a prima-facie

showing of personal jurisdiction. See OM/ Holdings, Inc. v. Royal Ins. Co. of Canada, 149

F.3d 1086, 1091 (10th Cir. 1998). Plaintiffs can make such a showing by alleging, "via



20
   Defendants, excluding Langford, filed their Motion to Dismiss, coupled with a Memorandum
in Support, on June 20, 2023. ECF Nos. 19, 20. Plaintiffs responded in their Response in
Opposition on July 5, 2023, to which Defendants replied on July 12, 2023. ECF Nos. 24, 26.
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affidavit or other written materials, facts that if true would support jurisdiction over the

defendant." See AST Sports Sci., Inc. v. CLF Distrib., Ltd., 514 F.3d 1054, 1057 (10th Cir.

2008). Like a Fed. R. Civ. P. 12(b)(l) challenge, the Court accepts as true all well-pleaded

facts in the Complaint and resolves all factual disputes in Plaintiffs' favor. See Dudnikov

v. Chalk& Vermilion Fine Arts, Inc., 514 F.3d 1063, 1070 (10th Cir. 2008).

       Third, when considering a Fed. R. Civ. P. 12(b)( 6) motion to dismiss, district courts

follow a two-pronged approach. See Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). First, "a

court considering a motion to dismiss can choose to begin by identifying pleadings that,

because they are no more than conclusions, are not entitled to the assumption of truth." Id.

Iqbal clarified that "the tenet that a court must accept as true all of the allegations contained

in a complaint is inapplicable to legal conclusions", and "[t]hreadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice."

Id. at 678. Second, "[w ]hen there are well-pleaded factual allegations, a court should

assume their veracity and then determine whether they plausibly give rise to an entitlement

to relief." Id. at 679. The Court stated that "[t]o survive a motion to dismiss, a complaint

must contain sufficient factual matter, accepted as true, to 'state a claim to relief that is

plausible on its face."' Id. at 678 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). "A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged." Id. (citing Twombly, 550 U.S. at 556). Plausibility lies somewhere

between possibility and probability; a complaint must establish more than a mere



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possibility that Defendants acted unlawfully, but the complaint does not need to establish

that Defendants probably acted unlawfully. See id.


                                           ANALYSIS

        The Court dismisses KKG Building Co. and Plaintiffs' four claims without

prejudice. First, Plaintiffs fail to plead this Court's subject matter jurisdiction over KKG

Building Co. Second, Plaintiffs demonstrate this Court's personal jurisdiction over

Rooney. Third, while Plaintiffs demonstrate futility under Ohio law, their derivative

claim against Rooney fails to escape KKG's First-Amendment-protected freedom of

expressive association to include transgender members. Fourth, Plaintiffs fail to allege

any breach of contract. Fifth, Plaintiffs fail to allege any tortious interference of contract.

Sixth, Plaintiffs fail to allege a direct claim against Rooney under Ohio law. Below, the

Court proceeds from the courthouse door to the courtroom, addressing challenges to

jurisdiction and on the merits, seriatim.

     A. The Court's Subject Matter Jurisdiction over Plaintiffs' Breach of Contract Claim
        against, inter alia, KKG Building Co. (i.e., Count II).

        Plaintiffs fail to allege this Court's subject matter jurisdiction over KKG Building

Co. Defendants move to dismiss Count II, alleging breach of contract against, inter alia,

KKG Building Co., for lack of subject matter jurisdiction. See ECF Nos. 20, at 7-8; 26, at

4-5. Plaintiffs appear to concede, parroting language from their Complaint that they do

not seek damages from KKG Building Co. but consider it a required party. 21


21
  Compare ECF No. 6, ,I 23 ("Plaintiffs do not seek damages directly from Kappa Housing
Corp., but Plaintiffs do allege that [KKG] has interfered with their contractual relationship with
                                                10




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       Preliminarily, the Court admits its confusion disentangling Plaintiffs' Count II,

which Plaintiffs seem to recognize. 22 Count II in Plaintiffs' Complaint appears to sue

KKG Building Co.; yet, in their response, Plaintiffs clarify that they sue KKG for two

breach of contract claims. This section addresses KKG Building Co.' s status vis-a-vis

Count II.

       To proceed under this Court's diversity jurisdiction, 28 U.S.C. § 1332, as

Plaintiffs do, "all[] plaintiffls] need[] to do is allege an amount in excess of $75,000 and

[they] will get [their] way, unless[] defendant[s] [are] able to prove 'to a legal certainty'

that the plaintiffs claim cannot recover the alleged amount." McP hail v. Deere & Co.,

529 F.3d 947,953 (10th Cir. 2008) (quoting St. Paul Mercury lndem. Co. v. Red Cab

Co., 303 U.S. 283,289 (1938)) (internal citation omitted); ECF No. 6, ,r 13. In Young,

U.S. District Judge James 0. Browning opined:

               The statutory amount-in-controversy requirement, which presently stands at
               $75,000.00, must be satisfied as between a single plaintiffand a single
               defendant for a federal district court to have original jurisdiction over the
               dispute; a plaintiff cannot aggregate independent claims against multiple
               defendants to satisfy the amount-in-controversy requirement, nor can
               multiple plaintiffs aggregate their claims against a single defendant to
               exceed the threshold. If multiple defendants are jointly liable, or jointly and
               severally liable, on some of the claims, however, the amounts of those
               claims may be aggregated to satisfy the amount-in-controversy requirement
               as to all defendants jointly liable for the claims. Similarly, multiple

this Defendant. As such, Plaintiffs believe the Kappa Housing Corporation is a required party to
this litigation.") (citing Fed. R. Civ. P. 19(a)(l)(B)), with ECF No. 24, at 17-18 (near-verbatim
language).
22
   ECF No. 24, at 14 ("Plaintiffs admit that there may be some ambiguities in the Complaint, but
only because there are actually two different contracts. There is the contract between Kappa and
its members under Ohio corporate law. And there is the contract with the Kappa Kappa Gamma
Housing Corporation ... Through Defendant Kappa's actions, they have created a breach of
contract as to both the sorority experience and paid housing experience that these young women
were prnmised. ") (emphasis added);
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              plaintiffs may aggregate the amounts of their claims against a single
              defendant if the claims are not separate and distinct.

Young v. Hartford Cas. Jns. Co., 503 F. Supp. 3d 1125, 1172-73 (D.N.M. 2020) (internal

quotations and citations omitted) (emphasis added). Here, Plaintiffs' Complaint and

response cement that they, explicitly, do not levy claims against or seek damages from

KKG Building Co. Plaintiffs also do not seek injunctive or declaratory relief from KKG

Building Co. See ECF No. 6, at 70 ("Plaintiffs pray for ... [a] declaratory judgment that

the Defendants have violated the housing contract[.]") (presumably referring to KKG

and/or Rooney); Lovell v. State Farm Mut. Auto. Ins. Co., 466 F.3d 893, 897 (10th Cir.

2006) ("The Tenth Circuit has followed what has commonly been referred to as the

'either viewpoint rule' which considers either the value to the plaintiff or the cost to

defendant of injunctive and declaratory relief as the measure of the amount in

controversy for purposes of meeting the jurisdictional minimum.") (internal quotation

omitted). Plaintiffs also do not allege that KKG Building Co. is jointly liable with its co-

defendants. Nor is this a case where unquantifiable variables prevent the Court from

declaring to a legal certainty that no jury would award Plaintiff more than $75,000;

Plaintiffs, in their words, do not seek damages from KKG Building Co. and, when

prompted by Defendants to their amount-in-controversy flaw, fail to respond.

Accordingly, because Plaintiffs do not seek damages against KKG Building Co. and fail

to plead an amount in controversy as to that Defendant, the Court dismisses KKG

Building Co. from Count II for lacking subject matter jurisdiction.




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        But wait, say Plaintiffs, K.KG Building Co. is a Fed. R. Civ. P. 19(a)(l)(B)

required party. "When applying Rule 19, a district court must first determine whether the

absent party is necessary to the lawsuit[.]" See Davis v. United States, 192 F.3d 951, 957

(10th Cir. 1999) (citing Fed. R. Civ. P. 19(a)). Necessity weighs three factors, including:

"(I) whether complete relief would be available to the parties already in the suit, (2)

whether the absent party has an interest related to the suit which as a practical matter

would be impaired, and (3) whether a party already in the suit would be subjected to a

substantial risk of multiple or inconsistent obligations." Rishell v. Jane Phillips Episcopal

Mem. Med. Ctr., 94 F.3d 1407, 1411 (10th Cir. 1996) (footnote omitted). 23 "If a

necessary person cannot be joined, the court proceeds to the second step, determining

'whether in equity and good conscience the action should proceed among the parties

before it, or should be dismissed, because the absent person ... is indispensable' to the

litigation at hand." Davis ex rel. Davis v. United States, 343 F.3d 1282, 1289 (10th Cir.

2003) (quoting Fed. R. Civ. P. 19(b)) (internal brackets omitted).




23
  Identical in effect to Rishell's three-factor test, Fed. R. Civ. P. 19(a) states:
        (l) Required Party. A person who is subject to service of process and whose joinder will
       not deprive the court of subject-matter jurisdiction must be joined as a party if:
                (A) in that person's absence, the court cannot accord complete relief among
                existing parties; or
                (B) that person claims an interest relating to the subject of the action and is so
                situated that disposing of the action in the person's absence may:
                        (i) as a practical matter impair or impede the person's ability to protect the
                        interest; or
                        (ii) leave an existing party subject to a substantial risk of incurring double,
                        multiple, or otherwise inconsistent obligations because of the interest.
Fed. R. Civ. P. 19(a)(l).
                                                  13




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        Plaintiffs bear the burden of demonstrating KKG Building Co. 's necessity, yet,

beyond bare allusion to Fed. R. Civ. P. 19(a)(l)(B), make no effort to do so. See Davis,

192 F .3d at 951; ECF Nos. 6, ,r 23; 24, at 17. Nor is it apparent to the Court whether joinder,

in Plaintiffs' view, is warranted under Fed. R. Civ. P. 19(a){l)(B)(i) or (ii). See Fed. R.

Civ. P. 19(a)(l)(B); see also ECF No. 25, at 2, 4-8 (arguing for Langford's joinder under

Fed. R. Civ. P. 19(a)). Considering, sua sponte, KK.G Building Co.'s necessity under

Rishe/l's factors, none weigh in favor ofKKG Building Co. 's joinder.

        First, Plaintiffs fail to establish that complete relief cannot be granted among KKG

and Rooney. 24 Though difficult to decipher, 25 Plaintiffs clarify that, under Count II, KKG's

"actions" breached "two" contracts, including Plaintiffs' membership contracts with KKG

in Ohio and their housing contracts with KKG Building Co. in Wyoming. ECF No. 24, at

14. As to Count III, Plaintiffs seemingly allege that KKG tortiously interfered with

Plaintiffs' housing contracts-and, like Count II, not any improper action by KKG Building

Co. ECF No. 6, ilil 23 ("Plaintiffs do allege that Kappa Kappa Gamma Fraternity has

interfered with their contractual relationship with [KKG Building Co.]."), 175. Because




24
   See Begay v. Pub. Serv. Co. ofNM, 710 F. Supp. 2d 1161, 1183 (D.N.M. 2010) ("'Complete
relief refers to relief as between the persons already parties to the action and not as between a
present party and the absent party whose joinder is sought."') (quoting Champagne v. City of
Kan. City, Kan., 157 F.R.D. 66, 67 (D. Kan. 1994)).
25
   See also ECF Nos. 24, at 14 ("Plaintiffs admit that there may be some ambiguities in the
Complaint, but only because there are actually two different contracts."), 20, at 17 n.8 ("To the
extent Plaintiffs purport to allege a breach of contract claim against Kappa or Rooney, the Court
should dismiss it because Plaintiffs do not allege that either is a party to the [KKG Building Co.]
[c]ontracts.").
                                                14




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both contractual claims attack KKG's actions, not KKG Building Co., 26 complete relief

can be granted among KKG and/or Rooney.

        Second, KKG Building Co. does not have an interest in this suit at risk of

impairment. The Court's review of the housing contracts, in fact, belies Plaintiffs'

contention that KKG Building Co. contracted with Plaintiffs to "provide housing in

accordance with the Bylaws, Standing Rules, and Policies of Kappa Kappa Gamma." ECF

Nos. 6, ,r 170; 24, at 14. The only applicable section of the housing contracts states:

              5. Other Services. The chapter [i.e., the UW chapter] shall provide the
              student such services as are customarily furnished by the chapter to residents
              of the chapter house, subject to this contract, the Kappa Kappa Gamma
              Fraternity Bylaws, Standing Rules and Policies; and rules and regulations of
              the chapter, including, without limitation, the House Rules attached hereto
              as Exhibit, subject to any changes may be made by the chapter, House Board
              or the Fraternity at any time.

ECF No. 6-1, at 166-67 (identifiers omitted) (emphasis added). Notified of the lacking

contractual language supporting their claim, Plaintiffs, once again, fail to respond. See ECF

Nos. 20, at 19; 24. Thus, a key allegation to keep KKG Building Co. in this lawsuit - that

KKG Building Co. is contractually obligated to provide housing per headquarters policy -

withers under the Court's glancing scrutiny; if anything, the UW chapter must abide by

such policies, not KKG Building Co. ECF No. 6, ,r 170. Furthermore, it is KKG's policies

that underpin the sorority's alleged breach and tortious interference; under Plaintiffs' view,




26
   ECF No. 6, 1 171 ("Langford's access to and presence in the sorority house violates the
housing contract that Plaintiffs signed."), 1175 ("Through their [i.e., KKG and/or Rooney's]
initiation of Langford, Defendants have prevented Plaintiffs from having the benefit of the
Housing Contract that they signed."), at 70 (requesting "[a] declaratory judgment that the
Defendants [i.e., KKG and/or Rooney] have violated the housing contract").
                                               15




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this case turns on KKG's governing documents, not an independent non-profit confined to

housing issues, of which any interests held are adequately represented by KKG and/or

Rooney. See id., ,r,r 170, 175; EquiMed, Inc. v. Genstler, 170 F.R.D. 175, 179 (D. Kan.

1996) (finding that j oinder of an absent party was not necessary if its interests were

adequately represented by present parties) (citing Rishell, 94 F.3d at 1411-12); Portable

Solar, LLC v. Lion Energy, LLC, No. 22-CV-00026-DAK, 2022 WL 3153869, at *2 (D.

Utah Aug. 8, 2022) (noting that in tortious interference cases, courts should determine

necessity "by evaluating whether the absent party's rights or obligations under an existing

contract have necessarily become implicated"). However ineloquent, Plaintiffs' housing

contracts with KKG Building Co., while possibly relevant to damages down the road, are

not the subject of this litigation. See WolfMountain Resorts, LC v. Talisker Corp., No. 07-

CV-00548DAK, 2008 WL 65409, at *3 (D. Utah Jan. 4, 2008) ("It is well-established that

a party to a contract which is the subject ofthe litigation is considered a necessary party.")

(internal citation omitted) (emphasis added).

       Third, there is no evidence to support an assertion that KKG or Rooney would be

subject to a substantial risk of multiple or inconsistent obligations if KKG Building Co.

was removed from this lawsuit. "Inconsistent obligations occur when a party is unable to

comply with one court's order without breaching another court's order concerning the same

incident." Sonnettv. Lankford, No. 15-CV-0024-SWS, 2016 WL 9105175, at *2 (D. Wyo.

Mar. 16, 2016) (internal quotation omitted). In short, nothing before the Court indicates

that KKG or Rooney's abilities to protect their interests would be hindered by dismissing

KKG Building Co.

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        Therefore, the Court finds that KKG Building Co. is not a Fed. R. Civ. P.

19(a)(l)(B) necessary party. 27 The action proceeds, as does the Court, without KKG

Building Co.

     B. The Court's Personal Jurisdiction over Rooney.

        Shouldering their burden, Plaintiffs demonstrate this Court's personal jurisdiction

over Rooney. The parties dispute Rooney's contacts with Wyoming. On one hand,

Plaintiffs say that this Court has specific jurisdiction over a derivative suit against Rooney,

a corporate official, in Wyoming, where alleged injury, past and future, occurred. See ECF

No. 24, at 2 (citing Newsome v. Gallacher, 722 F.3d 1257 (10th Cir. 2013)). Defendants

counter that Plaintiffs levy no allegation that Rooney directed any conduct at Wyoming.

See ECF No. 26, at 3--4.

        Plaintiffs assert one sect of personal jurisdiction - to wit, specific - which allows

this Court to haul a nonresident defendant to Wyoming federal court. See OM! Holdings,

Inc., 149 F.3d at 1090-91. 28 Specific jurisdiction "depends on an affiliation between the

forum and the underlying controversy, principally, activity or an occurrence that takes

place in the forum State and is therefore subject to the State's regulation." Goodyear




27
   Because KKG Building Co. is not a necessary party, the Court need not proceed with an
indispensability analysis under the Tenth Circuit's second step. See Salt Lake Tribune Pub. Co.,
LLC v. AT & T Corp., 320 F.3d 1081, 1098 (10th Cir. 2003).
28
   This Court holds "'considerable leeway in deciding a pretrial motion to dismiss for lack of
personal jurisdiction."' Tungsten Parts Wyo., Inc. v. Glob. Tungsten and Powders Corp., No. 21-
CV-99-ABJ, 2022 WL 19263451, at *3 (D. Wyo. Jul. 13, 2022) (quoting Cheyenne Pub/'g, LLC
v. Starostka, 94 P.3d 463,469 (Wyo. 2004) (internal citation omitted)). The Court also makes
that determination "'on the basis of pleadings and other materials called to its attention."' Id
(quoting Staroskta, 94 P .3d at 469).
                                               17




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Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011) (internal quotation,

citation, and brackets omitted). "To obtain personal jurisdiction over a nonresident

defendant in a diversity action, a plaintiff must show that jurisdiction is legitimate under

the laws of the forum statel291 and that the exercise of jurisdiction does not offend the due

process clause of the Fourteenth Amendment." Towne, 46 F.3d at 1074.

        Notably, "[s]pecific jurisdiction is proper if ( 1) the out-of-state defendant

'purposefully directed' its activities at residents of the forum State, and (2) the plaintiffs

alleged injuries 'arise out of or relate to those activities."' XMission, L. C. v. Fluent LLC,

955 F.3d 833, 840 (10th Cir. 2020) (quoting Burger King Corp. v. Rudzewicz, 471 U.S.

462, 472 (1985)). Challenged today, purposeful direction 30 "calls for an inquiry into

whether [Plaintiffs] have shown that [Rooney's] acts were (1) intentional, (2) 'expressly

aimed' at Wyoming, and (3) done with 'knowledge that the brunt of the injury would be

felt' in Wyoming." Eighteen Seventy, LP v. Jayson, 32 F.4th 956, 959 (10th Cir. 2022)

(quoting Dudnikov, 514 F.3d at 1072). 31




29
   Wyoming's long-arm statute, Wyo. Stat.§ 5-l-107(a), confers jurisdiction "on any basis not
inconsistent with the Wyoming or United States constitution."
30
   Purposeful direction, or purposeful availment, requires that the defendant "deliberately . . .
engaged in significant activities within the forum State or deliberately directed [her] activities at
the forum State, so that [she] has manifestly availed [her]self of the privilege of conducting
business there." XMission, L.C., 955 F.3d at 840 (internal quotation, citation, and brackets
omitted).
31
   Additionally, if the Court determines that the minimum contacts standard is satisfied,
exercising personal jurisdiction over Rooney "must always be consonant with traditional notions
of fair play and substantial justice." Dudnikov, 514 F.3d at 1080 (quoting Int'! Shoe Co. v.
Washington, 326 U.S. 310,316 (1945)).
                                                 18




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        Plaintiffs plead Rooney's 32 purposeful direction. Plaintiffs allege that Rooney,

despite "aware[ness ]" of Langford's ineligibility, "violated [her] fiduciary duties to

[KKG] when [she] procured and approved the initiation of' Langford. ECF No. 6, ,r,r 49,

105. Thus, the first element, intentional action, is satisfied; the record contains no

suggestion that Rooney acted unintentionally when, accepted as true, she approved

Langford's initiation following the UW chapter's invitation. While the parties disagree

when Rooney, or others on the Fraternity Council, knew about Langford's invitation to

join the UW chapter, Rooney's approval of Langford's induction, as alleged, occurred

thereafter. See ECF Nos. 20, at 12 n.6; 24, at 8.

        The second element, express aiming at Wyoming, is more difficult for Plaintiffs,

but is nonetheless cleared. Yes, Plaintiffs' Complaint lacks reference to Rooney's

dealings with the UW chapter as President or her personal sign-off on Langford's

admission thirteen hundred miles away. The email from Executive Director3 3 Kari

Kittrell Poole - informing Plaintiffs that their "concerns were reviewed by several

national officers of the organization" and "we believe proceeding with [Langford's]


32
   Plaintiffs' suing of only KKG's President, Rooney, and not other Fraternity Council members,
is also debated. See ECF Nos. 20, at 10 n.5; 24, at 7 n.2 ("The law does not require more, but if
there is a concern, Plaintiffs can sue more directors. [] Plaintiffs are open to whatever direction is
provided."). § 1702.12(1)(l)(c) does not appear to require naming all directors or officers as
defendants. See Ohio Rev. Code Ann.§ 1702.12(1)(l)(c) (" ... against ... a director, an
officer[.]") (emphasis added); see also In re Ferro Corp. Derivative Litig., 511 F.3d 611, 618-19
(6th Cir. 2008) ("[A] [pre-suit] demand may also be excused [from Ohio Civ. R. 23.1] 'when all
directors are named as wrongdoers and defendants in a suit[.]'") (quoting Carlson v. Rabkin, 152
Ohio App. 3d 672, 681 (1st Dist. 2003)). Due to its inability, however, to locate any state
authority on this question, the Court reserves judgment.
33
   ECF No. 6-1, at 21 ("An Executive Director, employed by the Fraternity, shall serve as the
chief administrative officer and corporate secretary of the Fraternity and perform such duties as
defined by Fraternity Council.").
                                                  19




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initiation is the appropriate next step" - goes both ways; while that email could refer to

any of the other six members of the Fraternity Council, excluding Rooney, it is obviously

feasible that the Fraternity Council's corporate secretary was referring to the president34

of that body when she used "we". ECF No. 6, ,r,r 93, 141. Forgoing separation of their

purposeful direction analysis by element, Defendants lean upon, without naming, the

fiduciary shield doctrine. See ECF No. 20, at 8-9 (quoting Christian v. Loyakk, Inc., No.

19-CV-220-F, 2023 WL 170868, at* 14 (D. Wyo. Jan. 12, 2023)) (also quoting Virgin

Enter. Ltd. v. Virgin LLC, No. 19-CV-220-F, 2019 WL 13222758, at *3 (D. Wyo. Dec.

30, 2019), that dealt with foreign service of process and is in_apposite). Under that

doctrine, 35 even if a particular employee has "substantial contacts" with the forum state,

"those contacts will not count against the employee in the personal jurisdiction analysis

so long as the employee acted solely on the corporation's behalf." Newsome, 722 F.3d at

1275. Given that Rooney undoubtedly has not had "substantial contacts" with Wyoming,

Defendants appear to be arguing that contacts by Rooney's ''workforce" (e.g., KKG-

employed alumnae advisers at the UW chapter or Executive Director Poole) 36 in

Wyoming do not convey this Court's personal jurisdiction over Rooney. ECF No. 6,174;


34 "The members of Fraternity Council shall be the officers of the Fraternity: the President, the

Four Vice Presidents, and the Treasurer." ECF No. 6-1, at 18 (emphasis added).
35
   Though the Wyoming Supreme Court has not expressly adopted the fiduciary shield doctrine,
the Tenth Circuit invoked the doctrine under an application of Wyoming law. See Newsome, 722
F.3d at 1277.
36
   While this Judge is near-numb to hyperbole, Plaintiffs' statement that "every single [chapter]
decision is made by the 'workforce' that Rooney commands" is plainly inaccurate. See ECF No.
24, at 7. Per the UW chapter's Bylaws, K.KG advisers may not vote during recruitment of new
members. See ECF No. 6-1, at 208 ("Advisers shall serve in an advisory capacity without a
vote."). The KKG bylaws outline the same. See id. at 27 ("Advisers to each of the chapter
officers ... shall serve in an advisory capacity without vote.").
                                                20




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see, e.g., Walden v. Fiore, 571 U.S. 277, 286 (2014) ("Due process requires that a

defendant be haled into court in a forum State based on h[ er] own affiliation with the

State, not based on the ... 'attenuated' contacts [s]he makes by interacting with other

persons affiliated with the State.") (quoting Burger King Corp., 471 U.S. at 475).

        Fair enough. Nevertheless, accepting Plaintiffs' allegation that Rooney approved

Langford as true, as I must, the "'focal point"' of Rooney's actions occurred in

Wyoming. See Dudnikov, 514 F.3d at 1076-77 (quoting Calder v. Jones, 465 U.S. 783,

789 (1984)). Langford's admission, however minor among thousands across 140 chapters

each fall and spring, occurred at a KKG chapter house in Wyoming; Rooney's alleged

sign-off was an "intentional action[] that [was] expressly aimed at" Wyoming. See id.

(finding express aiming where the defendants intended "to halt a Colorado-based sale by

a Colorado resident" and the presiding-state's location was obvious from an eBay auction

page) (emphasis altered). Moreover, a corporate officer37 may be sued in a derivative

action where the injury occurred. See, e.g., Newsome, 38 722 F.3d at 1268-69 (finding

personal jurisdiction where corporate directors expressly aimed their wrongdoing at



37
   Defendants do not offer, nor can this Court unearth, controlling authority indicating that
Rooney's volunteer status on the Fraternity Council dictates a contrary outcome than would a
compensated officer. See ECF Nos. 20, at 8-9; 26, at 3-4; see also Bronner v. Duggan, 249 F.
Supp. 3d 27, 40 (D.D.C. 2017) (finding that, despite the volunteer service of a governing body's
officers, the directors could still anticipate being hauled into a Washington, D. C. court to account
for their activities).
38
   Defendants' interpretation of Newsome, that a fiduciary can be subject to personal jurisdiction
ifthat fiduciary has contacts with the forum state, lacks support. See ECF No. 26, at 3 (citing 722
F.3d at 1264, which merely outlined personal jurisdiction's general contours). Defendants also
fail to engage with Newsome's analysis of the purposeful direction elements. See 722 F.3d at
1268-74; ECF No. 20, at 9. Their reply offers no additional authority that compels the Court
otherwise. See ECF No. 26, at 3-4.
                                                 21




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Oklahoma when they saddled a subsidiary company, knowing it "operated exclusively"

in Oklahoma, with overwhelming debt).

        The final element of purposeful direction "concentrates on the consequences of the

defendant's action-where was the alleged harm actually felt by the plaintiff." Dudnikov,

514 F.3d at 1075. I look, once again, to Newsome, where the Tenth Circuit found that a

Delaware corporation and its creditors, to whom the defendants owed fiduciary duties,

were injured primarily in Oklahoma because "the individual defendants knew that the

brunt of any injury to [the corporation] would be felt in Oklahoma." See 722 F.3d at 1269

(citingDudnikov, 514 F.3d at 1077). KKG operates via its Gamma Omicron chapter in

Wyoming; when Rooney approved Langford's admission, injury, if any, would occur on

campus in Laramie, Wyoming. ECF No. 6, ,r,r 166-67. Therefore, Rooney "purposefully

directed" her activities at Wyoming. 39 See Dudnikov, 514 F .3d at 1078 (internal quotation

marks omitted).

        Plaintiffs demonstrate this Court's personal jurisdiction over Rooney. The Court

proceeds to the merits.

     C. Count I: Plaintiffs' Derivative Claim.

        Defendants critique Count I in two ways, including Plaintiffs': (1) failure to

demonstrate futility under Ohio law; and (2) seeking of relief contravening a voluntary



39
  Because Defendants do not challenge personal jurisdiction on any basis but purposeful
direction (i.e., specific jurisdiction's initial element), the Court declines from engaging in
unbriefed analyses concerning Plaintiffs' alleged injuries "aris[ing] out of or relat[ing] to those
activities [above]" or '"offend[ed] traditional notions of fair play and substantial justice."' See
XMission, L.C., 955 F.3d at 840 (internal quotation omitted); Dudnikov, 514 F.3d at 1080
(quoting Int'/ Shoe Co., 326 U.S. at 316); ECF Nos. 20, at 8-9; 26, at 3-4.
                                                 22




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organization's freedom of association. While Plaintiffs demonstrate futility under Ohio

law, their derivative claim against Rooney 40 fails to escape KKG's First-Amendment-

protected freedom of expressive association to include transgender members.

       1. Ohio Civ. R. 23.1 Futility.

       I begin with Defendants' argument of lacking Ohio Civ. R. 23.1 specificity. Due

to KKG's incorporation in Ohio, Ohio law governs Plaintiffs' derivative claim. 41 "When

members bring a derivative action against a nonprofit corporation, they are enforcing a

corporate right just as shareholders in for-profit corporations." Russell v. United

Missionary Baptist Church, 92 Ohio App. 3d 736, 739 (12th Dist. 1994); Ohio Rev. Code

Ann.§ 1702.12(I)(l)(c). Governing derivative actions, Ohio Civ. R. 23.1 states:

               Derivative Actions by Shareholders. ... The complaint shall also allege
               with particularity the efforts, if any, made by the plaintiff to obtain the
               action he desires from the directors and, if necessary, from the shareholders
               and the reasons for his failure to obtain the action or for not making the
               effort.




40 See ECF No. 6,  ,r,r 163 ("[T]he directors of the Sorority have violated their duties of loyalty,
care, and obedience/compliance."), 166 ("As a result of Defendant's behavior ..."), 167 ("[T]he
behavior of Defendant Rooney and other Fraternity Council members will result in the chapter's
closure[.]").
41
   Both parties appear to stipulate that, due to its incorporation in Ohio as a private, non-profit
corporation, KKG is governed by Ohio law. See ECF Nos. 20, at 9; 24, at 11-12; 6-1, at 23
("The Fraternity shall be governed in accordance with the laws of the state of Ohio[.]"); see, e.g.,
In re ZAGG Inc. S'holder Derivative Action, 826 F.3d 1222, 1228 (10th Cir. 2016) (noting that
"federal common law should adopt the futility law of the state of incorporation of the company
on behalf of which the plaintiffs are bringing suit"); Banjo Buddies, Inc. v. Renosky, 399 F .3d
168, 179 n.10 (3d Cir. 2005) (applying the law of the state of incorporation to breach of fiduciary
duty claims); Baker-Bey v. Delta Sigma Theta Sorority, Inc., No. 12-1364, 2013 WL 1742449, at
*4 (E.D. Pa. Apr. 23, 2013) (same).
                                                23




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Ohio Civ. R. 23.1; see also Fed. R. Civ. P. 23.l(b)(3)(A). 42 "'[N]o shareholder has an

independent right to bring suit unless the board [of directors] refuses to do so and that

refusal i[s] wrongful, fraudulent, or arbitrary, or is the result of bad faith or bias on the

part of the directors."' In re Cardinal Health, Inc. Derivative Litig., 518 F. Supp. 3d

1046, 1064 (S.D. Ohio 2021) (quoting Drage v. Procter & Gamble, 119 Ohio App. 3d

19, 24 (1st Dist. 1997)) (emphasis in original). Failure to make this pre-suit demand is

excused, however, when a plaintiff can demonstrate that the demand would have been

futile. Id. (citing Drage, 119 Ohio App. 3d at 25).

               Ohio courts have found a demand presumptively futile 'where the directors
               are antagonistic, adversely interested, or involved in the transactions
               attacked.' Likewise, for example, a demand may also be excused 'when all
               directors are named as wrongdoers and defendants in a suit, when there is
               self-dealing by the directors such that the directors gain directly from the
               challenged transactions, or when there is domination of nondefendant
               directors by the defendant directors.'

In re Ferro Corp. Derivative Litig., 511 F.3d at 618-19 (quoting Bonacci, 1992 WL

181682, at *4 and Carlson, 152 Ohio App. 3d at 681) (emphasis added). Defendants

argue that Plaintiffs' failure to elevate their concerns to the Fraternity Council and

identify violated KKG bylaws belies futility. See ECF No. 20, at 11-12. Plaintiffs

counter, sans state authority, that they and other relatives 43 pestered KKG for months




42
   "[Ohio] Civ. R. 23.1 and Fed. R. Civ. P. 23.1 are essentially the same." Bonacci v. Ohio
Highway Exp., Inc., No. 60825, 1992 WL 181682, at *4 (8th Dist. Jul. 30, 1992) (spacing
altered).
43
   See also ECF No. 27-1, at 1 (i.e., the mother of Plaintiff Holtmeier's email to a KKG officer).
Though the email's date is unlisted, the Court presumes, based on the reference to Langford's
accepting a bid "today", that the email was sent in October or early November 2022.
                                                24




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prior to Langford's induction and were ultimately rejected by Executive Director Poole's

email in mid-November 2022. See ECF Nos. 24, at 10; 6, ,r 165; 6-1, at 45-47.

        Plaintiffs plead specific facts to demonstrate that the Fraternity Council, akin to

Kappa's board of directors, 44 is "antagonistic, adversely interested, or involved in the

transactions attacked." See In re Ferro Corp. Derivative Litig., 511 F.3d at 618; see also

Lejfv. CIP Corp., 540 F. Supp. 857, 868-69 (S.D. Ohio 1982) (when evident from a

complaint that the directors of a corporation would oppose a derivative suit, formal

demand on the directors is considered futile and unnecessary). Though demand futility in

Ohio is no "easy task," 45 further efforts by Plaintiffs to convince the Fraternity Council to

alter their stance on admitting "individuals who identify as women" would be futile. For

months ahead of Langford's induction, Plaintiffs, their families, and counsel petitioned

Executive Director Poole, Rooney, KKG district and content directors, and KKG alumni

representatives to overrule the UW chapter's decision. ECF Nos. 6-1, at 178-79; 24, at 9-

11; 27-1, at 1. Addressing KKG leadership, including Rooney, Plaintiffs' counsel

communicated the crux of their future claims, including "a breach of contract and a



44
   See Ohio Rev. Code Ann. §§ 1702.0l(K) ("'Directors' means the persons vested with the
authority to conduct the affairs of the corporation irrespective of the name, such as trustees, by
which they are designated."), 1702.30(B) ("A director shall perform the duties of a director,
including the duties as a member of any committee of the directors upon which the director may
serve, in good faith, in a manner the director reasonably believes to be in or not opposed to the
best interests of the corporation, and with the care that an ordinarily prudent person in a like
position would use under similar circumstances. A director serving on a committee of directors is
acting as a director."); ECF No. 6-1, at 18 ("Fraternity Council serving hereunder shall have the
power, authority and responsibilities of and shall perform the functions provided for directors
under the Ohio Nonprofit Corporation Law.").
45
   In re Ferro Corp. Derivative Litig, No. 04CV1626, 2006 WL 2038659, at *5 (N.D. Ohio Mar.
21, 2006).
                                               25




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violation of Kappa Kappa Gamma's by-laws and standing rules", recounted their failed

efforts thus far (e.g., being "told that their values don't align with those of Kappa so they

should reconsider being in Kappa"), and requested that the Fraternity Council "legally

alter the sorority's membership requirements and conduct a valid vote in accord with

existing rules or halt the illegal course of conduct being pursued[.]" ECF No. 6-1, at 179-

80 (internal quotation marks and errant comma omitted). Rooney, Executive Director

Poole, and other Fraternity Council members are the same officers who purportedly

approved Langford; under Plaintiffs' theory, Rooney and other directors violated KKG's

bylaws46 - of course the Fraternity Council would oppose Plaintiffs' federal lawsuit.

Finding futility under Ohio Civ. R. 23.1, the Court forges on.

        2. Kappa Kappa Gamma's Freedom of Expressive Association.

        After much leadup, the Court turns to the gravamen of Plaintiffs' lawsuit. Their

derivative claim condenses to this: from 1870 to 2018, KKG defined "woman" to exclude

transgender women; any new definition may not be enacted, ultra vires, without a KKG

bylaw amendment. 47 Expectedly, Defendants counter: private organizations may interpret

their own governing documents and define "woman" as including transgender women. 48

        Defendants are correct. Defining "woman" is Kappa Kappa Gamma's bedrock

right as a private, voluntary organization- and one this Court may not invade. Below, I

apply Ohio and U.S. Supreme Court jurisprudence to the facts at bar.



46
   ECF No. 6, 11 163-65.
47
   See ECF Nos. 24, at 11-14; 6, 1104.
48
   See ECF No. 20, at 12-15.
                                             26




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       First, Ohio law is highly deferential to associational interpretation. "As a general

rule, Ohio courts are unwilling to interfere with the management and internal affairs of a

voluntary association." Redden v. Alpha Kappa Alpha Sorority, Inc., No. 09CV705, 2010

WL 107015, at *5 (N.D. Ohio Jan. 6, 2010). More specifically:

              [T]hose who become members of non-profit corporations are presumed to
              have joined them with knowledge of their nature and the law applicable to
              them, and to have consented to be bound by the principles and rules of
              government, or the policy which they have adopted, or may adopt ... [T]he
              member has, by voluntarily becoming a member of the order, chosen his
              forum for the redress of his grievances, and unless there has been some
              palpable violation of the constitution or laws ofthe corporation whereby he
              has been deprived ofvaluable rights, the civil courts will not interfere.

Powell v. Ashtabula Yacht Club, No. 953, 1978 WL 216074, at *3 (11th Dist. Dec. 4,

1978) (internal citations omitted) (emphasis added) (rejecting a member's plea to

overturn the termination of his club membership where the club met due process

requirements, including facilitating the member's presence and opportunity to be heard at

a hearing); see Stibora v. Greater Cleveland Bowling Ass 'n, 63 Ohio App. 3d 107, 113

(8th Dist. 1989) ("'A voluntary association may, without direction or interference by the

courts, for its government, adopt a constitution, by-laws, rules and regulations which will

control as to all questions of discipline, or internal policy and management, and its right

to interpret and administer the same is as sacred as the right to make them."') (quoting

State ex rel. Givens v. Superior Court of Marion Cnty., 233 Ind. 235,238 (1954))

(emphasis added); Putka v. First Catholic Slovak Union, 75 Ohio App. 3d 741, 748 (8th

Dist. 1991), cert. denied, 503 U.S. 986 (1992) ("Generally speaking, in matters of policy,

discipline or internal economy of a voluntary association, wherein the members have


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mutually agreed upon a charter or rules, the decision of the association itself is

supreme.") (internal citation omitted).

        I tum to guidance from the United States Supreme Court. In Boy Scouts ofAm. v.

Dale, 530 U.S. 640 (2000) (Rehnquist, CJ.), the Court held that the application ofNew

Jersey's nondiscrimination law, requiring the Boy Scouts to appoint James Dale, an

openly gay man as a scoutmaster, ran "afoul of the Scouts' freedom of expressive

association."49 Id. at 656. The Court found that a state compelling the Scouts to include

Dale would "interfere with the Boy Scouts' choice not to propound a point of view

contrary to its beliefs." Id. at 653-54. "[T]he First Amendment simply does not require

that every member ofa group agree on every issue in order for the group's policy to be

'expressive association.' The Boy Scouts takes an official position ... and that is

sufficient for First Amendment purposes."50 Id. at 655 (emphasis added). Chief Justice

Rehnquist concluded:

               'While the law is free to promote all sorts of conduct in place of harmful
               behavior, it is not free to interfere with speech for no better reason than
               promoting an approved message or discouraging a disfavored one,
               however enlightened either purpose may strike the government.'




49
   Freedom of expressive association is the "right to associate with others in pursuit of a wide
variety of political, social, economic, educational, religious, and cultural ends." Dale, 530 U.S. at
647.
so See also Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1149 (10th Cir. 2013) (en bane)
(Hartz, J., concurring) ("[An organization's] speech or conduct may reflect the view of only a
bare majority of the members, or even just the view of the members' delegate-such as the editor
of a newspaper or the pastor of a congregation. It suffices that the speech or conduct represents
an 'official position."') (quoting Dale, 530 U.S. at 655) (emphasis added).
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Id. at 661 (quoting Hurley v. Irish-Am. Gay, Lesbian, & Bisexual Grp. ofBoston, 515

U.S. 557, 579 (1995)) (emphasis added). Dale's takeaway for the Court: the government

may not defy the internal decision-making of a private organization, including the criteria

governing that entity's membership. 51

        Voluntary organizations beget benefits and drawbacks. KKG provides community

on campus and a professional network for life. 52 Forty-four women in Laramie seemingly

prioritized those benefits when they rushed. Membership, on the other hand, relinquishes

a dose of personal autonomy. That organization may say or publish something anathema

to one or a faction of members. Take the 2018 Guide, speech that Plaintiffs undoubtedly



51
   Advanced by Defendants, Bostock, by contrast, is inapposite today. See Bostock v. Clayton
Cnty., Ga., 140 S. Ct. 1731 (2020) (Gorsuch, J.). There, the Court held that "it is impossible to
discriminate against a person for being ... transgender without discriminating against that
individual based on sex" because "to discriminate on th[is] ground[] requires an employer to
intentionally treat individual employees differently because of their sex." Id at 1741-42. Justice
Gorsuch concluded that Title VII "prohibit[s] [employers] from firing employees on the basis of
... transgender status." Id at 1753. Both sides misapply Bostock. Defendants say that if the
Supreme Court interpreted "discrimination because of sex" as protecting transgender individuals,
so too may Kappa interpret its bylaws "to be similarly inclusive." See ECF No. 20, at 14.
Plaintiffs respond that the law's ordinary meaning at enactment (i.e., KKG's definition of
"woman" in 1870) "usually governs." See ECF No. 24, at 12-13. Neither argument assists the
Court today. Had the UW chapter or KKG denied Langford admission because she was
transgender, Bostock, though addressing employer discrimination, would certainly amplify. On
the other hand, Bostock concerned the Court's statutory interpretation of Title VII and not a
private organization's internal bylaws. See, e.g., 140 S. Ct. at 1738 ("[O]nly the words on the
page constitute the law adopted by Congress and approved by the President. If judges could add
to, remodel, update, or detract from old statutory terms inspired only by extratextual sources and
our own imaginations, we would risk amending the statutes outside the legislative process
reserved for the people's representatives.").
52
   In fact, each year of their KKG membership, Plaintiffs signed the following: "I recognize that
membership in Kappa Kappa Gamma offers me many benefits and the opportunity for
friendship, mutual support, personal growth and intellectual development. I understand that the
privilege of membership comes with great responsibility." ECF No. 6-1, at 163; see also 303
Creative LLC v. Elenis, 143 S. Ct. 2298, 2315 (2023) (Gorsuch, J.) ("In Dale, the Boy Scouts
offered what some might consider a unique experience.") (citing 530 U.S. at 649-50).
                                               29




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disagree with. Just as the Boy Scouts were "an expressive association" entitled to First

Amendment protection, so too is Kappa Kappa Gamma. 53 See Dale, 530 U.S. at 647-56,

650 ("It seems indisputable that an association that seeks to transmit such a system of

values engages in expressive activity."). The law, or this Court, may not interfere with-

whether promoting or discouraging - that speech. Dale controls today, interestingly with

the shoe on the other foot. 54 Whether excluding gay scoutmasters in Dale or including

trans gender women in Kappa, this Judge may not invade Kappa's sacrosanct,

associational right to engage in protected speech. KKG's "official position" of admitting

trans gender women, even if decreed by a mere "delegate", is speech which this Court

may not impinge. See Dale, 530 U.S. at 655; Sebelius, 723 F.3d at 1149 (Hartz, J.,



53
   See Iota XI Chapter ofthe Sigma CHI Fraternity v. Paterson, 538 F. Supp. 2d 915,923 (E.D.
Va. 2008), aff'd on other grounds, 566 F.3d 138 (4th Cir. 2009) (extrapolating Dale to find that
"a college fraternity is no different from the Boy Scouts"); see also Schultz v. Wilson, 304 F.
Appx. 116, 120 (3d Cir. 2008) (unpublished) ("A social group is not protected unless it engages
in expressive activity such as tal<lng a stance on an issue of public, political, social, or cultural
importance.") (internal citation omitted). The 2018 Guide was obviously such a stance by KKG.
Because this matter presents no governmental action, which, in part, distinguishes Dale, the
Court sees no reason to conduct Dale's three-step analysis regarding a group's expressive
association claim. See 530 U.S. at 650-56.
54 Plaintiffs do not engage with Dale. Had they, Plaintiffs would likely contend that the

Fraternity Council's unilateral decision to admit transgender women violated the members' First
Amendment rights because it "force[d] the organization to send a message ... that [it] accepts"
transgender women for KKG membership, belying their views. See Dale, 530 U.S. at 650; see
also Green v. Miss United States ofAm., LLC, 52 F.4th 773, 802 (9th Cir. 2022) (rejecting a
transgender applicant's plea to "use the power of the state to force Miss United States of
America to express a message contrary to what it desires to express"). Dale's posture, however,
lends little to Plaintiffs; there, the Court considered the constitutionality of a state's
nondiscrimination law compelling expression, rather than a member's challenge to an expressive
decision of their voluntary organization. See also Roberts v. U.S. Jaycees, 468 U.S. 609, 622-23
(1984) (Brennan, J.) ("There can be no clearer example of an intrusion into the internal structure
or affairs of an association than a regulation that forces the group to accept members it does not
desire. Such a regulation may impair the ability of the original members to express only those
views that brought them together.").
                                                 30




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concurring). Notably, there are also two associational layers before the Court. Not only

did KKG headquarters publish their willingness to accept transgender women in 2018,

the UW chapter voted to associate with Langford in 2022. See Dale, 530 U.S. at 658

("Impediments to the exercise of one's right to choose one's associates can violate the

right of association protected by the First Amendment.") (internal quotation and brackets

omitted). Cognizant of Langford's gender identity, the UW chapter determined that she

met their criteria for membership, including, inter alia, "integrity, respect, and regard for

others"; KKG confirmed the same thereafter. ECF No. 6-1, at 6-7. Their decisions lie

beyond the purview of this Court.

       Plaintiffs respond that Kappa's freedom of expressive association does not insulate

the organization from amendment of its own bylaws. I disagree, especially where

Plaintiffs cannot point the Court to the bylaw that defines "woman" the way they wish.

Of course, an organization binds itself via its bylaws. 55 Those bylaws state that a new

Kappa "shall be a woman". 56 ECF No. 6-1, at 6. The parties diverge from there. Whereas

Plaintiffs circumscribe "woman", their delegate augmented the same. See ECF No. 24, at

11. In the Court's view, that is a lawful interpretation - explicitly authorized per the

sorority's Standing Rules - of an otherwise-silent bylaw. See ECF No. 6-1, at 119 ("The


55 ECF No. 6-1, at 23 ("The Fraternity Bylaws shall constitute the code ofregulations of the

Fraternity.").
56
   The Court sees no reason to disturb the governance process by which the Fraternity Council
published its Position Statements in 2021 and FAQs in 2022 ahead of KKG's biennial
convention in 2022. Any issue that Plaintiffs raise with respect to KKG' s putatively improper
counting of the two-thirds vote necessary for bylaw amendment belong before the sorority, not
this Court. See also ECF No. 6-1, at 24 (mandating a two-thirds convention vote to amend a
KKG bylaw, sans any requirement regarding the Fraternity Council's method (e.g., voice or
written) of counting votes).
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administrative duties of Fraternity Council shall include ... [i]nterpreting the Fraternity

Bylaws and Standing Rules[.]"). Plaintiffs' plea that the Court interpret "woman" as it

was in 1870 clashes with this and other Courts' deference to organizational autonomy, or

the notion that organizations deserve considerable latitude to interpret their own bylaws.

For instance, the Powell court in Ohio spotlighted an exception to courts' general

unwillingness to interfere with a voluntary association when "there has been some

palpable violation of the constitution or laws of the corporation whereby [the member]

has been deprived of valuable rights." 1978 WL 216074, at *4. Plaintiffs make no such

showing. Instead, they ask this Court to overrule one interpretation and inject another.

The Court refuses to do so.

       Though an akin bylaw-interpretation, derivative challenge is non-existent, the

Court's approach today, from a policy perspective, is practical. This Court cannot step in

every time a member, or even multiple members, cries foul when a bylaw is disparately

interpreted; if it did, KKG and its Fraternity Council would spend their days responding

to derivative suits from their thousands of current members and 210,000 alumnae. See

also Barrash v. Am. Ass 'n ofNeurological Surgeons, Inc., No. 13-cv-1054, 2013 WL

4401429, at *6 (S.D. Tex. Aug. 13, 2013) (noting that such interference would subject a

non-profit, private organization to "frustration at every tum" and cause it "to founder in

the waters of impotence and debility"). Our federal and state courts would similarly be

overrun with disgruntled members challenging large organizations. Consider, also, that

KKG supervises 140 chapters nationwide; reception of contested speech in today's

climate will obviously vary. Finally, Plaintiffs' alternative recourse lies within their

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chapter and organization, not this Court. An appeal to other chapters is one such route;

disassociation, while drastic, is another.

        In summary, the delegate of a private, voluntary organization, in pursuit of

"inclusiv[ity]", broadened its interpretation of "woman". ECF No. 6-1, at 105. The Court

will not interfere with its result, nor invade the organization's freedom of expressive

association. Accordingly, this Court dismisses Count I. 57

     D. Count II: Plaintiffs' Breach of Contract Claim.

        Plaintiffs fail to demonstrate any breach of contract. Plaintiffs allege KKG's

breach of two contracts, including Plaintiffs': ( 1) membership contracts with KKG under

Ohio law; and (2) housing contracts with KKG Building Co. under Wyoming law. 58 See

ECF Nos. 24, at 14; 6-1, at 163, 165-76. Defendants respond that Plaintiffs do not allege

any plausible breach of their housing contracts. See ECF Nos. 20, at 18; 26, at 7.

        Defendants are correct on both contracts. I begin with Plaintiffs' membership

contracts with KKG. Under Ohio law, "[t]o establish a claim for breach of contract, a

plaintiff must prove: (1) the existence of a contract, (2) performance by the plaintiff, (3)

breach by the defendant, and (4) damages or loss resulting from the breach." In re Fifth

Third Early Access Cash Advance Litig., 925 F.3d 265,276 (6th Cir. 2019) (internal

quotation omitted); Tel. Mgmt. Corp. v. Goodyear Tire & Rubber Co., 32 F. Supp. 2d

960, 969 (N.D. Ohio 1998) ("A breach of contract is a failure without legal excuse to



57
  ECF No. 6, ,I,I 159-67.
58
  Finding that KKG Building Co. was not a Fed. R. Civ. P. 19(a)(l)(B) required party within
Section A. supra, the Court dismissed KKG Building Co. from this lawsuit.
                                              33




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perform any promise that forms a whole or a part of a contract.") (internal citation

omitted). Entirely unalleged in their Complaint, Plaintiffs supplement that KKG's

admission of Langford in the UW chapter house "created a breach of contract as to ...

the sorority experience[.]" See ECF No. 24, at 14. While Plaintiffs and KKG formed a

membership contract and Plaintiffs appear to have performed, any demonstration of

element (3) is absent; Plaintiffs fail to point the Court to any contractual breach by KKG.

See ECF No. 6-1, at 163. The Court admits its confusion as to what contractual language

KKG, in Plaintiffs' view, breached. See id.; Allied Erecting and Dismantling Co., Inc. v.

Genesis Equip. & Mfg., Inc., 649 F. Supp. 2d 702, 728 (N.D. Ohio 2009) ("[W]here a

contract is clear and unambiguous, the court need not ... go beyond the plain language of

the agreement to determine the rights and obligations of the parties.") (internal quotation

omitted). If anything, the membership contract primarily outlines Plaintiffs' obligations.

See id. Plaintiffs make no effort to contend otherwise. 59 Giving effect to the membership

contract before the Court, KKG undertook no contractual obligation to reject transgender

women. Accordingly, Plaintiffs fail to allege a breach of their membership contracts.

        Reverting to Wyoming law, I tum to Plaintiffs' housing contracts. 60 Here, a breach

of contract claim consists of: (1) "'a lawfully enforceable contract;"' (2) "'an unjustified




59
   If Plaintiffs argue that KKG breached their membership contracts by redefining "woman" sans
a bylaw amendment, they, similarly, fail to direct the Court to the contractual provision within
their membership contracts that KKG allegedly violates. Even when liberally construing
Plaintiffs' Complaint to incorporate an unpled breach of contract claim, the Court cannot do
counsels' job for them.
60
   See ECF No. 6-1, at 173 ("This contract is made with reference to and shall be construed in
accordance with the laws of Wyoming in which state it shall be performed by the parties.").
                                              34




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failure to timely perform all or any part of what is promised [i.e., the breach];"' and (3)

"'entitlement of the injured party to damages."' Peterson v. Meritain Health, Inc., 508

P.3d 696, 705 (Wyo. 2022) (quoting Halling v. Yovanovich, 391 P.3d 611, 616-17 (Wyo.

2017)) (internal brackets omitted). Plaintiffs allege that KKG breached their housing

contracts by allowing transgender women to live in the chapter house in violation of

KKG's governing documents. See ECF Nos. 6, ,I,r 170-72; 24, at 14. Once again, though,

Plaintiffs fail to cite the Court to any explicit breach within the housing contracts; the

Court's analysis, thus, fails at element (2). ECF No. 6-1, at 165-76. As developed in

Section A. supra, the Court's review of the housing contract contradicts Plaintiffs. Within

those contracts, any obligations to comply with KKG's "Bylaws, Standing Rules and

Policies (' Fraternity standards')" were either undertaken by the UW chapter or Plaintiffs

themselves. See, e.g., id. at 166-67, 168 ("The student ... shall, at all times, comply with

all ... the Fraternity Standards. The student acknowledges that it is their responsibility to

seek out, read and understand ... the Fraternity standards and they agree to follow the

same."). 61 Plaintiffs fail to show how KKG's receptive stance towards transgender

women "forms the whole or part of' their housing contracts. See Reynolds v. Tice, 595

P .2d 1318, 1323 (Wyo. 1979). Nowhere in the housing contracts do the parties contract

an obligation to "provide housing in accordance with" KKG's governing documents;




61
  Separately, KKG's bylaws state that members ofKKG Building Co., described as "members
of the Fraternity", "shall agree to be bound by ... the Fraternity Bylaws, Standing Rules and
Policies." See ECF No. 6-1, at 23-24.
                                              35




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Plaintiffs may not impose such an obligation on Defendants absent from those contracts.

ECF No. 6, 1 170.

        Accordingly, the Court dismisses Count II. 62

     E. Count Ill: Plaintiffs' Tortious Interference Claim.

        Plaintiffs also fail to allege any tortious interference of contract. Plaintiffs claim

that KKG 63 tortiously interfered with their housing contracts by inducting a transgender

woman in violation ofKKG's governing documents. ECF No. 6, 11173-75. Defendants

regurgitate that, without a breach of a housing contract, there can be no tortious

interference with that contract. See ECF No. 20, at 20.

        I concur with Defendants. To show tortious interference with a contract, Plaintiffs

must allege: "(1) the existence of the contract; (2) the defendant's knowledge; (3)

intentional and improper interference inducing or causing a breach; and (4) resulting

damages." First Wyo. Bank v. Mudge, 748 P.2d 713, 715 (Wyo. 1998) (emphasis added)

(citing Restatement (Second) of Torts,§ 766 (Am. Law. Inst. 1979)). lnseverable from

the Court's analyses above, Plaintiffs make no effort to demonstrate that KKG induced or

caused a breach or termination of their housing contracts. See USI Ins. Servs. LLC v.

Craig, No. 18-CV-79-F, 2019 WL 5295533, at *9-10 (D. Wyo. Apr. 9, 2019) (rejecting a




62
   ECF No. 6, 11 168-72.
63
   The Court admits its confusion by Plaintiffs' usage, twice, of "Defendants" within Count III.
ECF No. 6, 1175. However, because Plaintiffs use "Defendant Kappa Kappa Gamma" earlier in
that paragraph and fail to clarify, even when prompted, the error in their response, the Court
construes Count III as against solely KKG. Id.; see ECF Nos. 20, at 20 n.1 0; 24, at 17 ("Plaintiffs
do allege that Kappa Kappa Gamma Fraternity has tortiously interfered with their contractual
relationship with [KKG Building Co.]").
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tortious interference claim where a plaintiff failed to show a breach of contract "[s]ince

the third element of this tort requires an underlying breach of a contract"); ECF No. 24, at

14-20. Plaintiffs fail to even attempt their burden. See ECF No. 24; Gore v. Sherard, 50

P.3d 705, 710 (Wyo. 2002) (internal citation omitted). Given Plaintiffs' failure to allege a

breach or termination by KKG, the Court need go no further.

         Accordingly, the Court dismisses Count III. 64

      F. Count JV: Plaintiffs' Direct Claim.

         Plaintiffs fail to allege a direct claim against Rooney. Count IV appears to allege

that Plaintiffs suffered direct injuries due to KKG and Rooney's admission of Langford.

ECF No. 6, ,r,r 176-79. Defendants argue that Plaintiffs' contention that they suffered

"individual legal harm distinct" from their derivative claim on behalf of all Kappa

members is wanting. See ECF No. 20, at 20-22. Plaintiffs copy and paste allegations

within their Complaint in response. Compare ECF No. 24, at 16-17, with ECF No. 6, ,r

12.

          Plaintiffs have not shown a special duty, nor a separate and distinct injury, to

sustain their direct claim. Unlike a derivative action filed on behalf of a corporation, a

shareholder may bring a direct action "against a director or officerl65l of the corporation

' ( 1) where there is a special duty, such as contractual duty, between the wrongdoer and

the shareholder, and (2) the shareholder suffered an injury separate and distinct from that


64
  ECF No. 6, ,r,r 173-75.
65
  Though Plaintiffs appear to sue KKG and Rooney under Count IV, direct actions under Ohio
law are only sanctioned against a corporation's director or officer. Cf ECF No. 6, ,r 179.
Therefore, the Court solely considers Plaintiffs' direct claim against Rooney.
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suffered by other shareholders."' Morgan v. Ramby, Nos. CA2010-10-095, CA2010-10-

101, 2012 WL 626209, at *4 (12th Dist. Feb. 27, 2012) (quoting Herman's, Inc. v. Sach-

Dolmar Div., 87 Ohio App. 3d 74, 77 (9th Dist. 1993)) (emphasis in original); see also

Heaton v. Rohl, 193 Ohio App. 3d 770, 782 (11th Dist. 2011) (noting that a shareholder

may bring a direct action where they demonstrate a special duty or a separate and distinct

injury) (internal citation omitted).

       First, Plaintiffs do not allege a special duty. Injury flowing "from a breach of

corporate fiduciary duty" - as Plaintiffs briefly allude to - "amounts to nothing more than

loss of the [non-profit corporation's] value, which is an injury shared in common with all

other stockholders," or here, KKG members nationwide, and should be brought as a

derivative action. See ECF No. 24, at 16; Barr v. Lauer, No. 87514, 2007 WL 117502, at

*2 (8th Dist. Jan. 18, 2007); Carlson, 152 Ohio App. 3d at 679 ("As a general

proposition, claims for breach of fiduciary duties on the part of corporate directors or

officers are to be brought in derivative suits."); see also Weston v. Weston Paper & Mfg.

Co., 74 Ohio St. 3d 377, 379 (Ohio 1996) (rejecting plaintiffs' argument that breach-of-

fiduciary-duties claims against corporate directors should be allowed as a direct action in

the absence of injury separate and distinct from the corporation). Moreover, for reasons

articulated in Section C. above, Plaintiffs have not shown that Rooney breached any

fiduciary duty to Plaintiffs by interpreting "woman" expansively.

       Second, they also do not demonstrate a separate and distinct injury. Plaintiffs

allege that their "loss of privacy, frustration of contractual expectations, and emotional

distress" from Langford's induction are unique injuries. ECF No. 6, 1179. However,

                                             38




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Plaintiffs sue Rooney, not their sorority sister; thus, only their frustrated contractual

expectations merit consideration. Under Plaintiffs' theory, Rooney's actions contravene

their pre-rush intent to join an organization that excludes transgender women. Yet, injury,

if any, from Rooney's purported orchestration of Langford's admission inured to all

KKG members alike, whether in Laramie or beyond, not merely Plaintiffs. In other

words, Plaintiffs' putative injury - association with a trans gender woman - technically

affected all KKG members. Therefore, Plaintiffs' claims at bar, forgoing their determined

unviability, belong as a derivative suit rather than a direct action. See Grand Council of

Ohio v. Owens, 86 Ohio App. 3d 215,220 (10th Dist. 1993) (determining that plaintiffs

brought a derivative claim by "look[ing] to the nature of the alleged wrong rather than the

designation used by plaintiffs"). Therefore, Plaintiffs fail to plead a special duty, nor a

separate and distinct injury, to sustain their direct claim.

       Accordingly, the Court dismisses Count IV. 66

   G. Dismissal without Prejudice and Langford's Motion to Dismiss (ECF No. 22).

       Finally, Defendants argue that the Court should dismiss Plaintiffs' claims with

prejudice. See, e.g., ECF Nos. 20, at 22; 26, at 10. '"[A] dismissal with prejudice is

appropriate where a complaint fails to state a claim under Rule 12(b)(6) and granting

leave to amend would be futile."' Seale v. Peacock, 32 F.4th 1011, 1027 (10th Cir. 2022)

(quoting Brereton v. Bountiful City Corp., 434 F.3d 1213, 1219 (10th Cir. 2006) (internal

citation omitted)) (emphasis in original) (brackets omitted). Defendants make no effort to



66 ECF No. 6, ,, 176-79.


                                              39




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argue futility and do not otherwise explain why dismissal with prejudice is appropriate;

accordingly, the Court will dismiss Plaintiffs' claims without prejudice. 67

        Furthermore, due to the Court's dismissal today of Plaintiffs' four claims, the

Court also dismisses Langford's Motion to Dismiss (ECF No. 22) as moot. 68


                                         CONCLUSION

        For the foregoing reasons, Plaintiffs' four claims fail. Pursuant to Fed. R. Civ. P.

12(b)(l), Defendant KKG Building Co. is dismissed. Pursuant to Fed. R. Civ. P. 12(b)(6),

Plaintiffs' four claims against Defendants KKG and Rooney are dismissed without

prejudice.

        Therefore, IT IS HEREBY ORDERED that Defendants', Kappa Kappa Gamma,

Rooney, and KKG Building Co., Motion to Dismiss (ECF No. 19) is GRANTED.




67
   If Plaintiffs wish to amend their complaint, the Court advises Plaintiffs that they devote more
than 6% of their complaint to their legal claims against Defendants. It also counsels Plaintiffs to
provide more factual detail, where feasible, as well as highlight the Defendant(s) it sues under
each count and relevant state statutes and authority. Finally, if provided another opportunity to
clarify unclear language within an amended complaint, Plaintiffs should not copy and paste their
complaint in lieu of elaboration or legal research that assists the Court in disentangling their
claims. See, e.g., ECF No. 24, at 14, 16-19.
68
   Langford moves to dismiss herself because, inter alia, she is not a Fed. R. Civ. P. 19(a)(l)(B)
required party. See ECF Nos. 23, at 4; 27, at 2, 4. Plaintiffs respond: "if Langford stipulates that
[s]he is not a required party, Plaintiffs would support h[er] dismissal." ECF No. 25, at 13 n.4.
Langford did not reply. ECF No. 27. Without addressing the substance of Langford's motion, the
Court notes the irrelevancy of Langford's alleged behavior. The crux of Plaintiffs' lawsuit is
their derivative claim against Rooney and contractual claims against KKG. Unbefitting in federal
court, Langford's unsubstantiated behavior at the UW chapter house has no bearing on Plaintiffs'
legal claims. The Court, however, acknowledges that Plaintiffs' requested relief seeks to void
Langford's KKG membership.
                                                40




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      Furthermore, IT IS HEREBY ORDERED that Plaintiffs' First Amended Verified

Member Derivative Complaint for Breach ofFiduciary Duties (ECF No. 6) against

Defendants is DISMISSED WITHOUT PREJUDICE.

      Finally, IT IS HEREBY ORDERED that Defendant Langford's Motion to

Dismiss with Prejudice (ECF No. 22) is DISMISSED AS MOOT.

      IT IS SO ORDERED.



                   ~~
      Dated this 2 ~ day of August, 2023.


                                               ~#,/1;):k.,~
                                              Alan B. Johnson
                                              United States District Judge




                                        41




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                  EXHIBIT 1




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                                                                 3:17 pm, 8/25/23

                                                               Margaret Botkins
                                                                Clerk of Court




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                    IN THE UNITED STATES DISTRICT COURT
                                                                           3:17 pm, 8/25/23
                            FOR THE DISTRICT OF WYOMING
                                                                        Margaret Botkins
                                                                         Clerk of Court

 JAYLYN WESTENBROEK, HANNAH
 HOLTMEIER, ALLISON COG HAN,
 GRACE CHOATE, MADELINE
 RAMAR, and MEGAN KOSAR, on
 behalf of themselves and derivatively on
 behalf of KAPPA KAPPA GAMMA
 FRATERNITY,

              Plaintiffs,
       V.                                          Case No. 23-CV-51-ABJ

KAPPA KAPPA GAMMA
FRATERNITY, an Ohio non-profit
corporation, as a Nominal Defendant and
as a Direct Defendant, MARY PAT
ROONEY, President of the Fraternity
Council of KAPP A KAPP A GAMMA
FRATERNITY, in her official capacity,
KAPPA KAPPA GAMMA BUILDING
CO., a Wyoming non-profit corporation,
and ARTEMIS LANGFORD,

              Defendants.


  ORDER GRANTING DEFENDANTS' MOTION TO DISMISS (ECF NO. 19),
   DISMISSING, WITHOUT PREJUDICE, PLANTIFFS' FIRST AMENDED
     VERIFIED MEMBER DERIVATIVE COMPLAINT FOR BREACH OF
      FIDUCIARY DUTIES (ECF NO. 6), AND DISMISSING AS MOOT
 DEFENDANT ARTEMIS LANGFORD'S MOTION TO DISMISS (ECF NO. 22)


      THIS MATIER comes before the Court following Defendants', Kappa Kappa

Gamma Fraternity, an Ohio non-profit corporation ("KKG", "Kappa Kappa Gamma", or

"Kappa"), Mary Pat Rooney, President of the Fraternity Council of Kappa Kappa Gamma
                                            1

                                                                                        WYD 97
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Fraternity ("Rooney"), and Kappa Kappa Gamma Building Co., a Wyoming non-profit

corporation ("KKG Building Co.") (collectively, "Defendants"), Motion to Dismiss, filed

on June 20, 2023. ECF No. 19. Pursuant to Fed. R. Civ. P. 12(b)(l), (2), and (6), Defendants

move to dismiss Plaintiffs', Jaylyn Westenbroek, Hannah Holtmeier, Allison Coghan,

Grace Choate, Madeline Ramar, and Megan Kosar (collectively, "Plaintiffs"), First

Amended Verified Member Derivative Complaint for Breach of Fiduciary Duties

("Complaint") (ECF No. 6), due to lacking subject matter jurisdiction over KKG Building

Co., lacking personal jurisdiction over Rooney, and Plaintiffs' failure to state a claim upon

which relief can be granted. ECF Nos. 19, at 2; 20.

       Having reviewed the filings, the applicable law, and being otherwise fully advised,

the Court GRANTS Defendants' Motion to Dismiss (ECF No. 19) and DISMISSES,

WITHOUT PREJUDICE, Plaintiffs' Complaint (ECF No. 6).

       Separately, the Court DISMISSES AS MOOT Defendant's, Artemis Langford

("Langford"), Motion to Dismiss with Prejudice ("Langford's Motion to Dismiss") (ECF

No. 22), filed on June 20, 2023.


                                      BACKGROUND

       Embittered by their chapter's admission of Artemis Langford, a trans gender woman,

six KKG sisters at the University of Wyoming sue their national sorority and its president.

Plaintiffs, framing the case as one of first impression, ask the Court to, inter alia, void their

sorority sister's admission, find that KKG's President violated her fiduciary obligations by

betraying KKG's bylaws, and prevent other transgender women from joining KKG


                                               2

                                                                                                    WYD 98
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nationwide. A "woman", say Plaintiffs, is not a transgender woman. Unadorned, this case

condenses to this: who decides whether Langford is a Kappa Kappa Gamma sister? Though

given the opportunity to vote this past fall, not the six Plaintiffs. Not KKG's Fraternity

Council. Not even this federal Court. The University of Wyoming chapter voted to admit

- and, more broadly, a sorority of hundreds of thousands approved - Langford. With its

inquiry beginning and ending there, the Court will not define "woman" today. The delegate

of a private, voluntary organization interpreted "woman", otherwise undefined in the non-

profit's bylaws, expansively; this Judge may not invade Kappa Kappa Gamma's freedom

of expressive association and inject the circumscribed definition Plaintiffs urge. Holding

that Plaintiffs fail to plausibly allege their derivative, breach of contract, tortious

interference, and direct claims, the Court dismisses, without prejudice, Plaintiffs' causes

of action. This Court outlines the case's posture, 1 its standard of review, and its disposition

in the pages that follow.

       Founded in 1870, Kappa Kappa Gamma is a non-profit organization based in

Dublin, Ohio. ECFNos. 6, ,r,r21, 25, 28; 6-1, at 49, 55-56. 2 Today, KKG spans 140 college



1
  Recounting the pertinent facts, infra, the Court wades through a well-researched, yet
meandering, complaint; for example, despite a seventy-two-page complaint excluding
attachments, Plaintiffs devote four-and-a-half pages to their actual claims. Only the facts relevant
to the four claims Plaintiffs bring against Defendants are outlined today. Those facts are accepted
as true for the purpose of resolving the motion at bar. ECF No. 6; see also ECF Nos. 20, 24, 26.
The Court also looks to documents attached as exhibits to Plaintiffs' Complaint. See Fed. R. Civ.
P. 10(c) ("A copy of a written instrument that is an exhibit to a pleading is a part of the pleading
for all purposes."); Hall v. Bellmon, 935 F.2d 1106, 1112 (10th Cir. 1991) ("A written document
that is attached to the complaint as an exhibit is considered part of the complaint and may be
considered in a Rule 12(b)(6) dismissal.") (internal citations omitted).
2
  KKG filed its Articles ofIncorporation with the Ohio Secretary of State in 1930. ECF No. 6-1,
at 56.
                                                 3

                                                                                                       WYD 99
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campuses and boasts 210,000 living alumnae. ECF No. 6, 1 26. Of note are policies from

KKG's national headquarters and the University of Wyoming's KKG chapter; bear with

me as I summarize both. Broadly, KKG's "purposes", inter alia, are:

               A. To unite women, through membership, in a close bond of friendship,
                  seeking to instill in them a spirit of mutual love and helpfulness, to the
                  end that each member and the Fratemity-at-large[31 may attain social,
                  moral, and intellectual excellence;
               B. To establish chapters at various colleges and universities, provide for the
                  proper organization, installation, and operation, with each chapter having
                  the right and responsibility to select members ofits choice in accordance
                  with Fraternity standards and procedures[.]

ECF No. 6-1, at 52 (emphasis added). KKG has Bylaws ("bylaws"), Standing Rules, 4 and

Fraternity Policies. ECF Nos. 6, 1 53; 6-1, at 2-30, 109-38, 140-61. While the KKG

bylaws state that "[a] new member shall be a woman", no bylaw defines "woman". ECF

No. 6-1, at 6. 5

       In 2018, KKG published a Guide for Supporting our LGBTQIA+ Members ("2018

Guide"). 6 ECF Nos. 6, 15; 6-1, at 32--43. The 2018 Guide states:

               Kappa Kappa Gamma is a single-gender organization comprised of women
               and individuals who identify as women whose governing documents do not
               discriminate in membership selection except by requiring good scholarship
               and ethical character.

3
  KKG considers itself a "fraternity" in its governing documents. E.g., ECF No. 6-1, at 5.
However, emulating Plaintiffs and our national discourse, the Court refers to KKG as a
"sorority".
4
  The Standing Rules state that "[a]ctive members shall be responsible for selecting new
members of their chapter." ECF No. 6-1, at 111.
5
  When a new member, following acceptance of a local chapter's invitation, accepts admission to
KKG and annually thereafter, she pledges to "uphold the [KKG] Bylaws, Standing Rules and
Policies as well as [her] chapter Bylaws and Standing Rules." ECF No. 6-1, at 163.
6
  The parties dispute when KKG began to allow transgender women to qualify for membership.
While Defendants allege that Kappa has allowed transgender women admission since 2015,
Plaintiffs respond that "there is no evidence of this fact." See ECF Nos. 20, at 3; 24, at 3. The
parties agree that KKG published its Guide in 2018. See ECF Nos. 6, ,r 5; 20, at 4.
                                                4


                                                                                                WYD 100
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               Each Kappa chapter has the final choice of its own members. . . . [T]he
               chapter is well within its right to offer [a] potential member [who is
               transgender] a bid.

ECF No. 6-1, at 32, 35 (emphasis added). While KKG's bylaws do not reflect the "and

individuals who identify as women" addition, accompanying documents, including KKG's

Position Statements 1 in 2021 and FAQs 8 in 2022, both published ahead of KKG's 2022

biennial convention, do. Id. at 105 (same language supra), 183 (same); cf id. at 2-30, 58-

86.9 An Illinois resident and volunteer, Rooney heads KKG's eight-member Fraternity

Council, consisting of directors and by extension staff tasked with supervising chapters

nationwide. ECF Nos. 6, ,r,r 22, 71; 26, at 3. 10 Plaintiffs equate KKG's Fraternity Council

to a corporation's board of directors. E.g., ECF No. 6, ,r 4.


7 The Position Statements also note that "[e Jach chapter of Kappa Kappa Gamma has the final

choice of its own members." ECF No. 6-1, at 183.
8
 The FAQs state:
       We also look to NPC [National Panhellenic Conference ("NPC")] policy as an NPC
       member organization. The NPC Recruitment Eligibility (2020) policy states: 'For the
       purpose of participation in Panhellenic recruitment, woman is defined as an individual who
       consistently lives and self-identifies as a woman. Each women's-only NPC member
       organization determines its own membership selection policies and procedures.'

        Why are we including gender-neutral pronouns in the revised documents?
        This change is coming from a Convention resolution that formed Kappa's Diversity, Equity
        and Inclusion Committee. Kappa Kappa Gamma was founded 150 years ago on the
        principles of integrity, respect and regard for others. Kappa has reflected on the path
        forward, and we are beginning with actions that speak to our belief that all members are
         valued. This is one of those action steps. We want to be as inclusive of all members as we
         can be.
ECF No. 6-1, at 105 (emphasis in original and added).
9
  See also ECF No. 6-1, at 59 ("lnclusivity. Since diversity, equity and inclusion have been a
focus and the subject of a previous resolution at [the] Convention, a concerted effort has been
made to make sure the language of the documents is inclusive.").
10
   See also Kappa Kappa Gamma Fraternity Council, available at:
https://www.kappakappagamma.org/why-kappa/our-leadership-team/fratemity-council/
(accessed Aug. 25, 2023).
                                                5

                                                                                                  WYD 101
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       Founded in 1927, the KKG, or Gamma Omicron, chapter at the University of

Wyoming ("the UW chapter") has forty-four members and an on-campus house today.

ECF Nos. 6, ,r 78; 6-1, at 200. Plaintiffs 11 are six - some current and some graduated -

chapter members and undergraduates at the University. ECF Nos. 6, ,r,r 1, 15-20; 20, at 1.

Because KKG headquarters has a "live-in rule", all UW chapter members must reside

within the on-campus house in Laramie, Wyoming, signing a contract with KKG Building

Co. 12 to do so. ECF No. 6-1, at 148, 165-76. Like KKG's governing documents, neither

the UW chapter's Bylaws, 13 nor its Standing Rules, define "woman". Id. at 185-98, 200-

09.

       During fall 2022 recruitment, the UW chapter voted to admit Langford, a

transgender 14 woman. ECF No. 6, ,r 116. Per KKG protocol, Langford was subsequently

approved by KKG headquarters prior to her initiation to the chapter. Id., ,r,r 68, 139, 141;




11
   In accordance with Tenth Circuit guidance, the Court twice denied Plaintiffs' request to
proceed anonymously in this matter. ECF Nos. 3, 5. On April 20, 2023, complying with the
Court's instruction, Plaintiffs filed an amended complaint featuring their true names. ECF No. 6.
12
   Though not seeking damages from KKG Building Co., Plaintiffs allege that KKG Building
Co. is a Fed. R. Civ. P. 19(a)(l)(B) required party to this action because five Plaintiffs signed
housing contracts with KKG Building Co. for the 2022-23 academic year. ECF No. 6, ,r,r 23, 84.
13
   The UW chapter Bylaws state that membership "shall be in accordance with the provisions of
the Fraternity [i.e., KKG] Bylaws." ECF No. 6-1, at 200.
14
   "Transgender" is a broad, umbrella term that is often used for individuals whose brain sex,
gender identity, or gender expression either does not or is perceived not to match the physical
sex they were assigned at birth. See Stevie V. Tran & Elizabeth M. Glazer, Transgenderless, 35
HARV. J.L. & GENDER 399, 399 n.l (2012).
                                                6

                                                                                                    WYD 102
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ECF No. 6-1, at 120. Following Langford's admission, Plaintiffs accuse Langford 15 of

salacious impropriety at the chapter house and elsewhere. 16

       Plaintiffs' four claims include: (1) a derivative 17 cause of action, pursuant to Ohio

Rev. Code Ann.§ 1702.12(I)(l)(c), 18 against Rooney (ECF No. 6, ,r,r 159-67) ("Count I");

(2) breach of contract against KKG and KKG Building Co. (id., ,r,r 168-72) ("Count II");

(3) tortious interference with a contract against KKG (id., ,r,r 173-75) ("Count III"); and

(4) a direct 19 cause of action against KKG and Rooney (id., ,r,r 176-79) ("Count IV").

Plaintiffs request three declaratory judgments from this Court, ordering: ( 1) that Langford

is ineligible for KKG membership and voiding, ab initio, her admission; (2) Defendants'

violation of their obligations to KKG by admitting Langford; and (3) Defendants' violation

of Plaintiffs' housing contracts. Id. at 70. Plaintiffs also seek preliminary and permanent


15
   Like KKG Building Co., Plaintiffs do not seek damages or relief from Langford, but label her
a Fed. R. Civ. P. 19(a)(l)(B) required party. ECF No. 6, ,I I n.2.
16
   Given Plaintiffs' dual dearth of claims against Langford and their inability to connect their
allegations concerning Langford's behavior to their four causes of action against the remaining
Defendants, the Court sees no reason to recount Plaintiffs' peripheral allegations against
Langford.
17
   A derivative cause of action against an Ohioan non-profit corporation "seeks to vindicate the
duty owed by the board of the corporation to the corporation as a whole and not a duty that is
owed to a particular member or shareholder." Wood v. Cashelmara Condo. Unit Owners Ass 'n,
Inc., No. 110696, 2022 WL 1422807, at *4--5 (8th Dist. May 5, 2022).
18
   Ohio law provides members of non-profit corporations with a derivative cause of action on
behalf of the corporation; § 1702.12, inter alia, states:
        (I)(l) No lack of, or limitation upon, the authority of a corporation shall be asserted in
        any action except as follows:

                (c) By a member as such or by or on behalf of the members against the
                corporation, a director, an officer, or a member as such.
Ohio Rev. Code Ann.§ 1702.12(1)(l)(c); see also ECF No. 6, ,I 46.
19
   "A shareholder brings a derivative action on behalf of the corporation for injuries sustained by
or wrongs done to the corporation, and a shareholder brings a direct action where the shareholder
is injured in a way that is separate and distinct from the injury to the corporation." HER, Inc. v.
Parenteau, 147 Ohio App. 3d 285,291 (10th Dist. 2002).
                                                 7

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injunctive relief preventing Defendants from "seeking or encouraging" transgender women

to join KKG, damages, and attorneys' fees and costs. Id. 20


                                STANDARD OF REVIEW

       Defendants challenge Plaintiffs' Complaint on three bases-and three Federal Rules

of Civil Procedure. I begin with a dose of procedural background; federal courts are courts

of limited jurisdiction. See Kokkonen v. Guardian Life Ins. Co. ofAm., 511 U.S. 375,377

(1994). Accordingly, federal courts are presumed to lack jurisdiction "unless and until a

plaintiff pleads sufficient facts to establish it." See Celli v. Shoell, 40 F.3d 324, 327 (10th

Cir. 1994) (internal citation omitted). If jurisdiction is challenged, the party asserting

jurisdiction must demonstrate its existence by a preponderance of the evidence. See id.

First, when considering a Fed. R. Civ. P. 12(b)(l) challenge to subject matter jurisdiction

and the movant challenges the allegations set forth in the complaint, the Court must accept

those allegations as true. See Holt v. United States, 46 F .3d 1000, 1002-03 (I 0th Cir. 1995),

abrogated on other grounds by Cent. Green Co. v. United States, 531 U.S. 425, 437 (2001 ).

Second, Plaintiffs bear the burden of establishing personal jurisdiction. See Far W Cap.,

Inc. v. Towne, 46 F.3d 1071, 1075 (10th Cir. 1995). If, however, the Court resolves the

pending motion on the basis of their Complaint, Plaintiffs need only make a prima-facie

showing of personal jurisdiction. See OM/ Holdings, Inc. v. Royal Ins. Co. of Canada, 149

F.3d 1086, 1091 (10th Cir. 1998). Plaintiffs can make such a showing by alleging, "via



20
   Defendants, excluding Langford, filed their Motion to Dismiss, coupled with a Memorandum
in Support, on June 20, 2023. ECF Nos. 19, 20. Plaintiffs responded in their Response in
Opposition on July 5, 2023, to which Defendants replied on July 12, 2023. ECF Nos. 24, 26.
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affidavit or other written materials, facts that if true would support jurisdiction over the

defendant." See AST Sports Sci., Inc. v. CLF Distrib., Ltd., 514 F.3d 1054, 1057 (10th Cir.

2008). Like a Fed. R. Civ. P. 12(b)(l) challenge, the Court accepts as true all well-pleaded

facts in the Complaint and resolves all factual disputes in Plaintiffs' favor. See Dudnikov

v. Chalk& Vermilion Fine Arts, Inc., 514 F.3d 1063, 1070 (10th Cir. 2008).

       Third, when considering a Fed. R. Civ. P. 12(b)( 6) motion to dismiss, district courts

follow a two-pronged approach. See Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). First, "a

court considering a motion to dismiss can choose to begin by identifying pleadings that,

because they are no more than conclusions, are not entitled to the assumption of truth." Id.

Iqbal clarified that "the tenet that a court must accept as true all of the allegations contained

in a complaint is inapplicable to legal conclusions", and "[t]hreadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice."

Id. at 678. Second, "[w ]hen there are well-pleaded factual allegations, a court should

assume their veracity and then determine whether they plausibly give rise to an entitlement

to relief." Id. at 679. The Court stated that "[t]o survive a motion to dismiss, a complaint

must contain sufficient factual matter, accepted as true, to 'state a claim to relief that is

plausible on its face."' Id. at 678 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). "A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged." Id. (citing Twombly, 550 U.S. at 556). Plausibility lies somewhere

between possibility and probability; a complaint must establish more than a mere



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possibility that Defendants acted unlawfully, but the complaint does not need to establish

that Defendants probably acted unlawfully. See id.


                                           ANALYSIS

        The Court dismisses KKG Building Co. and Plaintiffs' four claims without

prejudice. First, Plaintiffs fail to plead this Court's subject matter jurisdiction over KKG

Building Co. Second, Plaintiffs demonstrate this Court's personal jurisdiction over

Rooney. Third, while Plaintiffs demonstrate futility under Ohio law, their derivative

claim against Rooney fails to escape KKG's First-Amendment-protected freedom of

expressive association to include transgender members. Fourth, Plaintiffs fail to allege

any breach of contract. Fifth, Plaintiffs fail to allege any tortious interference of contract.

Sixth, Plaintiffs fail to allege a direct claim against Rooney under Ohio law. Below, the

Court proceeds from the courthouse door to the courtroom, addressing challenges to

jurisdiction and on the merits, seriatim.

     A. The Court's Subject Matter Jurisdiction over Plaintiffs' Breach of Contract Claim
        against, inter alia, KKG Building Co. (i.e., Count II).

        Plaintiffs fail to allege this Court's subject matter jurisdiction over KKG Building

Co. Defendants move to dismiss Count II, alleging breach of contract against, inter alia,

KKG Building Co., for lack of subject matter jurisdiction. See ECF Nos. 20, at 7-8; 26, at

4-5. Plaintiffs appear to concede, parroting language from their Complaint that they do

not seek damages from KKG Building Co. but consider it a required party. 21


21
  Compare ECF No. 6, ,I 23 ("Plaintiffs do not seek damages directly from Kappa Housing
Corp., but Plaintiffs do allege that [KKG] has interfered with their contractual relationship with
                                                10

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       Preliminarily, the Court admits its confusion disentangling Plaintiffs' Count II,

which Plaintiffs seem to recognize. 22 Count II in Plaintiffs' Complaint appears to sue

KKG Building Co.; yet, in their response, Plaintiffs clarify that they sue KKG for two

breach of contract claims. This section addresses KKG Building Co.' s status vis-a-vis

Count II.

       To proceed under this Court's diversity jurisdiction, 28 U.S.C. § 1332, as

Plaintiffs do, "all[] plaintiffls] need[] to do is allege an amount in excess of $75,000 and

[they] will get [their] way, unless[] defendant[s] [are] able to prove 'to a legal certainty'

that the plaintiffs claim cannot recover the alleged amount." McP hail v. Deere & Co.,

529 F.3d 947,953 (10th Cir. 2008) (quoting St. Paul Mercury lndem. Co. v. Red Cab

Co., 303 U.S. 283,289 (1938)) (internal citation omitted); ECF No. 6, ,r 13. In Young,

U.S. District Judge James 0. Browning opined:

               The statutory amount-in-controversy requirement, which presently stands at
               $75,000.00, must be satisfied as between a single plaintiffand a single
               defendant for a federal district court to have original jurisdiction over the
               dispute; a plaintiff cannot aggregate independent claims against multiple
               defendants to satisfy the amount-in-controversy requirement, nor can
               multiple plaintiffs aggregate their claims against a single defendant to
               exceed the threshold. If multiple defendants are jointly liable, or jointly and
               severally liable, on some of the claims, however, the amounts of those
               claims may be aggregated to satisfy the amount-in-controversy requirement
               as to all defendants jointly liable for the claims. Similarly, multiple

this Defendant. As such, Plaintiffs believe the Kappa Housing Corporation is a required party to
this litigation.") (citing Fed. R. Civ. P. 19(a)(l)(B)), with ECF No. 24, at 17-18 (near-verbatim
language).
22
   ECF No. 24, at 14 ("Plaintiffs admit that there may be some ambiguities in the Complaint, but
only because there are actually two different contracts. There is the contract between Kappa and
its members under Ohio corporate law. And there is the contract with the Kappa Kappa Gamma
Housing Corporation ... Through Defendant Kappa's actions, they have created a breach of
contract as to both the sorority experience and paid housing experience that these young women
were prnmised. ") (emphasis added);
                                               11

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              plaintiffs may aggregate the amounts of their claims against a single
              defendant if the claims are not separate and distinct.

Young v. Hartford Cas. Jns. Co., 503 F. Supp. 3d 1125, 1172-73 (D.N.M. 2020) (internal

quotations and citations omitted) (emphasis added). Here, Plaintiffs' Complaint and

response cement that they, explicitly, do not levy claims against or seek damages from

KKG Building Co. Plaintiffs also do not seek injunctive or declaratory relief from KKG

Building Co. See ECF No. 6, at 70 ("Plaintiffs pray for ... [a] declaratory judgment that

the Defendants have violated the housing contract[.]") (presumably referring to KKG

and/or Rooney); Lovell v. State Farm Mut. Auto. Ins. Co., 466 F.3d 893, 897 (10th Cir.

2006) ("The Tenth Circuit has followed what has commonly been referred to as the

'either viewpoint rule' which considers either the value to the plaintiff or the cost to

defendant of injunctive and declaratory relief as the measure of the amount in

controversy for purposes of meeting the jurisdictional minimum.") (internal quotation

omitted). Plaintiffs also do not allege that KKG Building Co. is jointly liable with its co-

defendants. Nor is this a case where unquantifiable variables prevent the Court from

declaring to a legal certainty that no jury would award Plaintiff more than $75,000;

Plaintiffs, in their words, do not seek damages from KKG Building Co. and, when

prompted by Defendants to their amount-in-controversy flaw, fail to respond.

Accordingly, because Plaintiffs do not seek damages against KKG Building Co. and fail

to plead an amount in controversy as to that Defendant, the Court dismisses KKG

Building Co. from Count II for lacking subject matter jurisdiction.




                                              12

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        But wait, say Plaintiffs, K.KG Building Co. is a Fed. R. Civ. P. 19(a)(l)(B)

required party. "When applying Rule 19, a district court must first determine whether the

absent party is necessary to the lawsuit[.]" See Davis v. United States, 192 F.3d 951, 957

(10th Cir. 1999) (citing Fed. R. Civ. P. 19(a)). Necessity weighs three factors, including:

"(I) whether complete relief would be available to the parties already in the suit, (2)

whether the absent party has an interest related to the suit which as a practical matter

would be impaired, and (3) whether a party already in the suit would be subjected to a

substantial risk of multiple or inconsistent obligations." Rishell v. Jane Phillips Episcopal

Mem. Med. Ctr., 94 F.3d 1407, 1411 (10th Cir. 1996) (footnote omitted). 23 "If a

necessary person cannot be joined, the court proceeds to the second step, determining

'whether in equity and good conscience the action should proceed among the parties

before it, or should be dismissed, because the absent person ... is indispensable' to the

litigation at hand." Davis ex rel. Davis v. United States, 343 F.3d 1282, 1289 (10th Cir.

2003) (quoting Fed. R. Civ. P. 19(b)) (internal brackets omitted).




23
  Identical in effect to Rishell's three-factor test, Fed. R. Civ. P. 19(a) states:
        (l) Required Party. A person who is subject to service of process and whose joinder will
       not deprive the court of subject-matter jurisdiction must be joined as a party if:
                (A) in that person's absence, the court cannot accord complete relief among
                existing parties; or
                (B) that person claims an interest relating to the subject of the action and is so
                situated that disposing of the action in the person's absence may:
                        (i) as a practical matter impair or impede the person's ability to protect the
                        interest; or
                        (ii) leave an existing party subject to a substantial risk of incurring double,
                        multiple, or otherwise inconsistent obligations because of the interest.
Fed. R. Civ. P. 19(a)(l).
                                                  13

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       Plaintiffs bear the burden of demonstrating KKG Building Co. 's necessity, yet,

beyond bare allusion to Fed. R. Civ. P. 19(a)(l)(B), make no effort to do so. See Davis,

192 F .3d at 951; ECF Nos. 6, ,r 23; 24, at 17. Nor is it apparent to the Court whether joinder,

in Plaintiffs' view, is warranted under Fed. R. Civ. P. 19(a){l)(B)(i) or (ii). See Fed. R.

Civ. P. 19(a)(l)(B); see also ECF No. 25, at 2, 4-8 (arguing for Langford's joinder under

Fed. R. Civ. P. 19(a)). Considering, sua sponte, KK.G Building Co.'s necessity under

Rishe/l's factors, none weigh in favor ofKKG Building Co. 's joinder.

       First, Plaintiffs fail to establish that complete relief cannot be granted among KKG

and Rooney. 24 Though difficult to decipher, 25 Plaintiffs clarify that, under Count II, KKG's

"actions" breached "two" contracts, including Plaintiffs' membership contracts with KKG

in Ohio and their housing contracts with KKG Building Co. in Wyoming. ECF No. 24, at

14. As to Count III, Plaintiffs seemingly allege that KKG tortiously interfered with

Plaintiffs' housing contracts-and, like Count II, not any improper action by KKG Building

Co. ECF No. 6, ilil 23 ("Plaintiffs do allege that Kappa Kappa Gamma Fraternity has

interfered with their contractual relationship with [KKG Building Co.]."), 175. Because




24
   See Begay v. Pub. Serv. Co. ofNM, 710 F. Supp. 2d 1161, 1183 (D.N.M. 2010) ("'Complete
relief refers to relief as between the persons already parties to the action and not as between a
present party and the absent party whose joinder is sought."') (quoting Champagne v. City of
Kan. City, Kan., 157 F.R.D. 66, 67 (D. Kan. 1994)).
25
   See also ECF Nos. 24, at 14 ("Plaintiffs admit that there may be some ambiguities in the
Complaint, but only because there are actually two different contracts."), 20, at 17 n.8 ("To the
extent Plaintiffs purport to allege a breach of contract claim against Kappa or Rooney, the Court
should dismiss it because Plaintiffs do not allege that either is a party to the [KKG Building Co.]
[c]ontracts.").
                                                14

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both contractual claims attack KKG's actions, not KKG Building Co., 26 complete relief

can be granted among KKG and/or Rooney.

       Second, KKG Building Co. does not have an interest in this suit at risk of

impairment. The Court's review of the housing contracts, in fact, belies Plaintiffs'

contention that KKG Building Co. contracted with Plaintiffs to "provide housing in

accordance with the Bylaws, Standing Rules, and Policies of Kappa Kappa Gamma." ECF

Nos. 6, ,r 170; 24, at 14. The only applicable section of the housing contracts states:

              5. Other Services. The chapter [i.e., the UW chapter] shall provide the
              student such services as are customarily furnished by the chapter to residents
              of the chapter house, subject to this contract, the Kappa Kappa Gamma
              Fraternity Bylaws, Standing Rules and Policies; and rules and regulations of
              the chapter, including, without limitation, the House Rules attached hereto
              as Exhibit, subject to any changes may be made by the chapter, House Board
              or the Fraternity at any time.

ECF No. 6-1, at 166-67 (identifiers omitted) (emphasis added). Notified of the lacking

contractual language supporting their claim, Plaintiffs, once again, fail to respond. See ECF

Nos. 20, at 19; 24. Thus, a key allegation to keep KKG Building Co. in this lawsuit - that

KKG Building Co. is contractually obligated to provide housing per headquarters policy -

withers under the Court's glancing scrutiny; if anything, the UW chapter must abide by

such policies, not KKG Building Co. ECF No. 6, ,r 170. Furthermore, it is KKG's policies

that underpin the sorority's alleged breach and tortious interference; under Plaintiffs' view,




26
   ECF No. 6, 1 171 ("Langford's access to and presence in the sorority house violates the
housing contract that Plaintiffs signed."), 1175 ("Through their [i.e., KKG and/or Rooney's]
initiation of Langford, Defendants have prevented Plaintiffs from having the benefit of the
Housing Contract that they signed."), at 70 (requesting "[a] declaratory judgment that the
Defendants [i.e., KKG and/or Rooney] have violated the housing contract").
                                               15

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this case turns on KKG's governing documents, not an independent non-profit confined to

housing issues, of which any interests held are adequately represented by KKG and/or

Rooney. See id., ,r,r 170, 175; EquiMed, Inc. v. Genstler, 170 F.R.D. 175, 179 (D. Kan.

1996) (finding that j oinder of an absent party was not necessary if its interests were

adequately represented by present parties) (citing Rishell, 94 F.3d at 1411-12); Portable

Solar, LLC v. Lion Energy, LLC, No. 22-CV-00026-DAK, 2022 WL 3153869, at *2 (D.

Utah Aug. 8, 2022) (noting that in tortious interference cases, courts should determine

necessity "by evaluating whether the absent party's rights or obligations under an existing

contract have necessarily become implicated"). However ineloquent, Plaintiffs' housing

contracts with KKG Building Co., while possibly relevant to damages down the road, are

not the subject of this litigation. See WolfMountain Resorts, LC v. Talisker Corp., No. 07-

CV-00548DAK, 2008 WL 65409, at *3 (D. Utah Jan. 4, 2008) ("It is well-established that

a party to a contract which is the subject ofthe litigation is considered a necessary party.")

(internal citation omitted) (emphasis added).

       Third, there is no evidence to support an assertion that KKG or Rooney would be

subject to a substantial risk of multiple or inconsistent obligations if KKG Building Co.

was removed from this lawsuit. "Inconsistent obligations occur when a party is unable to

comply with one court's order without breaching another court's order concerning the same

incident." Sonnettv. Lankford, No. 15-CV-0024-SWS, 2016 WL 9105175, at *2 (D. Wyo.

Mar. 16, 2016) (internal quotation omitted). In short, nothing before the Court indicates

that KKG or Rooney's abilities to protect their interests would be hindered by dismissing

KKG Building Co.

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        Therefore, the Court finds that KKG Building Co. is not a Fed. R. Civ. P.

19(a)(l)(B) necessary party. 27 The action proceeds, as does the Court, without KKG

Building Co.

     B. The Court's Personal Jurisdiction over Rooney.

        Shouldering their burden, Plaintiffs demonstrate this Court's personal jurisdiction

over Rooney. The parties dispute Rooney's contacts with Wyoming. On one hand,

Plaintiffs say that this Court has specific jurisdiction over a derivative suit against Rooney,

a corporate official, in Wyoming, where alleged injury, past and future, occurred. See ECF

No. 24, at 2 (citing Newsome v. Gallacher, 722 F.3d 1257 (10th Cir. 2013)). Defendants

counter that Plaintiffs levy no allegation that Rooney directed any conduct at Wyoming.

See ECF No. 26, at 3--4.

        Plaintiffs assert one sect of personal jurisdiction - to wit, specific - which allows

this Court to haul a nonresident defendant to Wyoming federal court. See OM! Holdings,

Inc., 149 F.3d at 1090-91. 28 Specific jurisdiction "depends on an affiliation between the

forum and the underlying controversy, principally, activity or an occurrence that takes

place in the forum State and is therefore subject to the State's regulation." Goodyear




27
   Because KKG Building Co. is not a necessary party, the Court need not proceed with an
indispensability analysis under the Tenth Circuit's second step. See Salt Lake Tribune Pub. Co.,
LLC v. AT & T Corp., 320 F.3d 1081, 1098 (10th Cir. 2003).
28
   This Court holds "'considerable leeway in deciding a pretrial motion to dismiss for lack of
personal jurisdiction."' Tungsten Parts Wyo., Inc. v. Glob. Tungsten and Powders Corp., No. 21-
CV-99-ABJ, 2022 WL 19263451, at *3 (D. Wyo. Jul. 13, 2022) (quoting Cheyenne Pub/'g, LLC
v. Starostka, 94 P.3d 463,469 (Wyo. 2004) (internal citation omitted)). The Court also makes
that determination "'on the basis of pleadings and other materials called to its attention."' Id
(quoting Staroskta, 94 P .3d at 469).
                                               17

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Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011) (internal quotation,

citation, and brackets omitted). "To obtain personal jurisdiction over a nonresident

defendant in a diversity action, a plaintiff must show that jurisdiction is legitimate under

the laws of the forum statel291 and that the exercise of jurisdiction does not offend the due

process clause of the Fourteenth Amendment." Towne, 46 F.3d at 1074.

       Notably, "[s]pecific jurisdiction is proper if ( 1) the out-of-state defendant

'purposefully directed' its activities at residents of the forum State, and (2) the plaintiffs

alleged injuries 'arise out of or relate to those activities."' XMission, L. C. v. Fluent LLC,

955 F.3d 833, 840 (10th Cir. 2020) (quoting Burger King Corp. v. Rudzewicz, 471 U.S.

462, 472 (1985)). Challenged today, purposeful direction 30 "calls for an inquiry into

whether [Plaintiffs] have shown that [Rooney's] acts were (1) intentional, (2) 'expressly

aimed' at Wyoming, and (3) done with 'knowledge that the brunt of the injury would be

felt' in Wyoming." Eighteen Seventy, LP v. Jayson, 32 F.4th 956, 959 (10th Cir. 2022)

(quoting Dudnikov, 514 F.3d at 1072). 31




29
   Wyoming's long-arm statute, Wyo. Stat.§ 5-l-107(a), confers jurisdiction "on any basis not
inconsistent with the Wyoming or United States constitution."
30
   Purposeful direction, or purposeful availment, requires that the defendant "deliberately . . .
engaged in significant activities within the forum State or deliberately directed [her] activities at
the forum State, so that [she] has manifestly availed [her]self of the privilege of conducting
business there." XMission, L.C., 955 F.3d at 840 (internal quotation, citation, and brackets
omitted).
31
   Additionally, if the Court determines that the minimum contacts standard is satisfied,
exercising personal jurisdiction over Rooney "must always be consonant with traditional notions
of fair play and substantial justice." Dudnikov, 514 F.3d at 1080 (quoting Int'! Shoe Co. v.
Washington, 326 U.S. 310,316 (1945)).
                                                 18

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        Plaintiffs plead Rooney's 32 purposeful direction. Plaintiffs allege that Rooney,

despite "aware[ness ]" of Langford's ineligibility, "violated [her] fiduciary duties to

[KKG] when [she] procured and approved the initiation of' Langford. ECF No. 6, ,r,r 49,

105. Thus, the first element, intentional action, is satisfied; the record contains no

suggestion that Rooney acted unintentionally when, accepted as true, she approved

Langford's initiation following the UW chapter's invitation. While the parties disagree

when Rooney, or others on the Fraternity Council, knew about Langford's invitation to

join the UW chapter, Rooney's approval of Langford's induction, as alleged, occurred

thereafter. See ECF Nos. 20, at 12 n.6; 24, at 8.

       The second element, express aiming at Wyoming, is more difficult for Plaintiffs,

but is nonetheless cleared. Yes, Plaintiffs' Complaint lacks reference to Rooney's

dealings with the UW chapter as President or her personal sign-off on Langford's

admission thirteen hundred miles away. The email from Executive Director3 3 Kari

Kittrell Poole - informing Plaintiffs that their "concerns were reviewed by several

national officers of the organization" and "we believe proceeding with [Langford's]


32
   Plaintiffs' suing of only KKG's President, Rooney, and not other Fraternity Council members,
is also debated. See ECF Nos. 20, at 10 n.5; 24, at 7 n.2 ("The law does not require more, but if
there is a concern, Plaintiffs can sue more directors. [] Plaintiffs are open to whatever direction is
provided."). § 1702.12(1)(l)(c) does not appear to require naming all directors or officers as
defendants. See Ohio Rev. Code Ann.§ 1702.12(1)(l)(c) (" ... against ... a director, an
officer[.]") (emphasis added); see also In re Ferro Corp. Derivative Litig., 511 F.3d 611, 618-19
(6th Cir. 2008) ("[A] [pre-suit] demand may also be excused [from Ohio Civ. R. 23.1] 'when all
directors are named as wrongdoers and defendants in a suit[.]'") (quoting Carlson v. Rabkin, 152
Ohio App. 3d 672, 681 (1st Dist. 2003)). Due to its inability, however, to locate any state
authority on this question, the Court reserves judgment.
33
   ECF No. 6-1, at 21 ("An Executive Director, employed by the Fraternity, shall serve as the
chief administrative officer and corporate secretary of the Fraternity and perform such duties as
defined by Fraternity Council.").
                                                  19

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initiation is the appropriate next step" - goes both ways; while that email could refer to

any of the other six members of the Fraternity Council, excluding Rooney, it is obviously

feasible that the Fraternity Council's corporate secretary was referring to the president34

of that body when she used "we". ECF No. 6, ,r,r 93, 141. Forgoing separation of their

purposeful direction analysis by element, Defendants lean upon, without naming, the

fiduciary shield doctrine. See ECF No. 20, at 8-9 (quoting Christian v. Loyakk, Inc., No.

19-CV-220-F, 2023 WL 170868, at* 14 (D. Wyo. Jan. 12, 2023)) (also quoting Virgin

Enter. Ltd. v. Virgin LLC, No. 19-CV-220-F, 2019 WL 13222758, at *3 (D. Wyo. Dec.

30, 2019), that dealt with foreign service of process and is in_apposite). Under that

doctrine, 35 even if a particular employee has "substantial contacts" with the forum state,

"those contacts will not count against the employee in the personal jurisdiction analysis

so long as the employee acted solely on the corporation's behalf." Newsome, 722 F.3d at

1275. Given that Rooney undoubtedly has not had "substantial contacts" with Wyoming,

Defendants appear to be arguing that contacts by Rooney's ''workforce" (e.g., KKG-

employed alumnae advisers at the UW chapter or Executive Director Poole) 36 in

Wyoming do not convey this Court's personal jurisdiction over Rooney. ECF No. 6,174;


34 "The members of Fraternity Council shall be the officers of the Fraternity: the President, the

Four Vice Presidents, and the Treasurer." ECF No. 6-1, at 18 (emphasis added).
35
   Though the Wyoming Supreme Court has not expressly adopted the fiduciary shield doctrine,
the Tenth Circuit invoked the doctrine under an application of Wyoming law. See Newsome, 722
F.3d at 1277.
36
   While this Judge is near-numb to hyperbole, Plaintiffs' statement that "every single [chapter]
decision is made by the 'workforce' that Rooney commands" is plainly inaccurate. See ECF No.
24, at 7. Per the UW chapter's Bylaws, K.KG advisers may not vote during recruitment of new
members. See ECF No. 6-1, at 208 ("Advisers shall serve in an advisory capacity without a
vote."). The KKG bylaws outline the same. See id. at 27 ("Advisers to each of the chapter
officers ... shall serve in an advisory capacity without vote.").
                                                20

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see, e.g., Walden v. Fiore, 571 U.S. 277, 286 (2014) ("Due process requires that a

defendant be haled into court in a forum State based on h[ er] own affiliation with the

State, not based on the ... 'attenuated' contacts [s]he makes by interacting with other

persons affiliated with the State.") (quoting Burger King Corp., 471 U.S. at 475).

       Fair enough. Nevertheless, accepting Plaintiffs' allegation that Rooney approved

Langford as true, as I must, the "'focal point"' of Rooney's actions occurred in

Wyoming. See Dudnikov, 514 F.3d at 1076-77 (quoting Calder v. Jones, 465 U.S. 783,

789 (1984)). Langford's admission, however minor among thousands across 140 chapters

each fall and spring, occurred at a KKG chapter house in Wyoming; Rooney's alleged

sign-off was an "intentional action[] that [was] expressly aimed at" Wyoming. See id.

(finding express aiming where the defendants intended "to halt a Colorado-based sale by

a Colorado resident" and the presiding-state's location was obvious from an eBay auction

page) (emphasis altered). Moreover, a corporate officer37 may be sued in a derivative

action where the injury occurred. See, e.g., Newsome, 38 722 F.3d at 1268-69 (finding

personal jurisdiction where corporate directors expressly aimed their wrongdoing at



37
   Defendants do not offer, nor can this Court unearth, controlling authority indicating that
Rooney's volunteer status on the Fraternity Council dictates a contrary outcome than would a
compensated officer. See ECF Nos. 20, at 8-9; 26, at 3-4; see also Bronner v. Duggan, 249 F.
Supp. 3d 27, 40 (D.D.C. 2017) (finding that, despite the volunteer service of a governing body's
officers, the directors could still anticipate being hauled into a Washington, D. C. court to account
for their activities).
38
   Defendants' interpretation of Newsome, that a fiduciary can be subject to personal jurisdiction
ifthat fiduciary has contacts with the forum state, lacks support. See ECF No. 26, at 3 (citing 722
F.3d at 1264, which merely outlined personal jurisdiction's general contours). Defendants also
fail to engage with Newsome's analysis of the purposeful direction elements. See 722 F.3d at
1268-74; ECF No. 20, at 9. Their reply offers no additional authority that compels the Court
otherwise. See ECF No. 26, at 3-4.
                                                 21

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Oklahoma when they saddled a subsidiary company, knowing it "operated exclusively"

in Oklahoma, with overwhelming debt).

        The final element of purposeful direction "concentrates on the consequences of the

defendant's action-where was the alleged harm actually felt by the plaintiff." Dudnikov,

514 F.3d at 1075. I look, once again, to Newsome, where the Tenth Circuit found that a

Delaware corporation and its creditors, to whom the defendants owed fiduciary duties,

were injured primarily in Oklahoma because "the individual defendants knew that the

brunt of any injury to [the corporation] would be felt in Oklahoma." See 722 F.3d at 1269

(citingDudnikov, 514 F.3d at 1077). KKG operates via its Gamma Omicron chapter in

Wyoming; when Rooney approved Langford's admission, injury, if any, would occur on

campus in Laramie, Wyoming. ECF No. 6, ,r,r 166-67. Therefore, Rooney "purposefully

directed" her activities at Wyoming. 39 See Dudnikov, 514 F .3d at 1078 (internal quotation

marks omitted).

        Plaintiffs demonstrate this Court's personal jurisdiction over Rooney. The Court

proceeds to the merits.

     C. Count I: Plaintiffs' Derivative Claim.

        Defendants critique Count I in two ways, including Plaintiffs': (1) failure to

demonstrate futility under Ohio law; and (2) seeking of relief contravening a voluntary



39
  Because Defendants do not challenge personal jurisdiction on any basis but purposeful
direction (i.e., specific jurisdiction's initial element), the Court declines from engaging in
unbriefed analyses concerning Plaintiffs' alleged injuries "aris[ing] out of or relat[ing] to those
activities [above]" or '"offend[ed] traditional notions of fair play and substantial justice."' See
XMission, L.C., 955 F.3d at 840 (internal quotation omitted); Dudnikov, 514 F.3d at 1080
(quoting Int'/ Shoe Co., 326 U.S. at 316); ECF Nos. 20, at 8-9; 26, at 3-4.
                                                 22

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organization's freedom of association. While Plaintiffs demonstrate futility under Ohio

law, their derivative claim against Rooney 40 fails to escape KKG's First-Amendment-

protected freedom of expressive association to include transgender members.

       1. Ohio Civ. R. 23.1 Futility.

       I begin with Defendants' argument of lacking Ohio Civ. R. 23.1 specificity. Due

to KKG's incorporation in Ohio, Ohio law governs Plaintiffs' derivative claim. 41 "When

members bring a derivative action against a nonprofit corporation, they are enforcing a

corporate right just as shareholders in for-profit corporations." Russell v. United

Missionary Baptist Church, 92 Ohio App. 3d 736, 739 (12th Dist. 1994); Ohio Rev. Code

Ann.§ 1702.12(I)(l)(c). Governing derivative actions, Ohio Civ. R. 23.1 states:

               Derivative Actions by Shareholders. ... The complaint shall also allege
               with particularity the efforts, if any, made by the plaintiff to obtain the
               action he desires from the directors and, if necessary, from the shareholders
               and the reasons for his failure to obtain the action or for not making the
               effort.




40 See ECF No. 6,  ,r,r 163 ("[T]he directors of the Sorority have violated their duties of loyalty,
care, and obedience/compliance."), 166 ("As a result of Defendant's behavior ..."), 167 ("[T]he
behavior of Defendant Rooney and other Fraternity Council members will result in the chapter's
closure[.]").
41
   Both parties appear to stipulate that, due to its incorporation in Ohio as a private, non-profit
corporation, KKG is governed by Ohio law. See ECF Nos. 20, at 9; 24, at 11-12; 6-1, at 23
("The Fraternity shall be governed in accordance with the laws of the state of Ohio[.]"); see, e.g.,
In re ZAGG Inc. S'holder Derivative Action, 826 F.3d 1222, 1228 (10th Cir. 2016) (noting that
"federal common law should adopt the futility law of the state of incorporation of the company
on behalf of which the plaintiffs are bringing suit"); Banjo Buddies, Inc. v. Renosky, 399 F .3d
168, 179 n.10 (3d Cir. 2005) (applying the law of the state of incorporation to breach of fiduciary
duty claims); Baker-Bey v. Delta Sigma Theta Sorority, Inc., No. 12-1364, 2013 WL 1742449, at
*4 (E.D. Pa. Apr. 23, 2013) (same).
                                                23

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Ohio Civ. R. 23.1; see also Fed. R. Civ. P. 23.l(b)(3)(A). 42 "'[N]o shareholder has an

independent right to bring suit unless the board [of directors] refuses to do so and that

refusal i[s] wrongful, fraudulent, or arbitrary, or is the result of bad faith or bias on the

part of the directors."' In re Cardinal Health, Inc. Derivative Litig., 518 F. Supp. 3d

1046, 1064 (S.D. Ohio 2021) (quoting Drage v. Procter & Gamble, 119 Ohio App. 3d

19, 24 (1st Dist. 1997)) (emphasis in original). Failure to make this pre-suit demand is

excused, however, when a plaintiff can demonstrate that the demand would have been

futile. Id. (citing Drage, 119 Ohio App. 3d at 25).

               Ohio courts have found a demand presumptively futile 'where the directors
               are antagonistic, adversely interested, or involved in the transactions
               attacked.' Likewise, for example, a demand may also be excused 'when all
               directors are named as wrongdoers and defendants in a suit, when there is
               self-dealing by the directors such that the directors gain directly from the
               challenged transactions, or when there is domination of nondefendant
               directors by the defendant directors.'

In re Ferro Corp. Derivative Litig., 511 F.3d at 618-19 (quoting Bonacci, 1992 WL

181682, at *4 and Carlson, 152 Ohio App. 3d at 681) (emphasis added). Defendants

argue that Plaintiffs' failure to elevate their concerns to the Fraternity Council and

identify violated KKG bylaws belies futility. See ECF No. 20, at 11-12. Plaintiffs

counter, sans state authority, that they and other relatives 43 pestered KKG for months




42
   "[Ohio] Civ. R. 23.1 and Fed. R. Civ. P. 23.1 are essentially the same." Bonacci v. Ohio
Highway Exp., Inc., No. 60825, 1992 WL 181682, at *4 (8th Dist. Jul. 30, 1992) (spacing
altered).
43
   See also ECF No. 27-1, at 1 (i.e., the mother of Plaintiff Holtmeier's email to a KKG officer).
Though the email's date is unlisted, the Court presumes, based on the reference to Langford's
accepting a bid "today", that the email was sent in October or early November 2022.
                                                24

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prior to Langford's induction and were ultimately rejected by Executive Director Poole's

email in mid-November 2022. See ECF Nos. 24, at 10; 6, ,r 165; 6-1, at 45-47.

       Plaintiffs plead specific facts to demonstrate that the Fraternity Council, akin to

Kappa's board of directors, 44 is "antagonistic, adversely interested, or involved in the

transactions attacked." See In re Ferro Corp. Derivative Litig., 511 F.3d at 618; see also

Lejfv. CIP Corp., 540 F. Supp. 857, 868-69 (S.D. Ohio 1982) (when evident from a

complaint that the directors of a corporation would oppose a derivative suit, formal

demand on the directors is considered futile and unnecessary). Though demand futility in

Ohio is no "easy task," 45 further efforts by Plaintiffs to convince the Fraternity Council to

alter their stance on admitting "individuals who identify as women" would be futile. For

months ahead of Langford's induction, Plaintiffs, their families, and counsel petitioned

Executive Director Poole, Rooney, KKG district and content directors, and KKG alumni

representatives to overrule the UW chapter's decision. ECF Nos. 6-1, at 178-79; 24, at 9-

11; 27-1, at 1. Addressing KKG leadership, including Rooney, Plaintiffs' counsel

communicated the crux of their future claims, including "a breach of contract and a



44
   See Ohio Rev. Code Ann. §§ 1702.0l(K) ("'Directors' means the persons vested with the
authority to conduct the affairs of the corporation irrespective of the name, such as trustees, by
which they are designated."), 1702.30(B) ("A director shall perform the duties of a director,
including the duties as a member of any committee of the directors upon which the director may
serve, in good faith, in a manner the director reasonably believes to be in or not opposed to the
best interests of the corporation, and with the care that an ordinarily prudent person in a like
position would use under similar circumstances. A director serving on a committee of directors is
acting as a director."); ECF No. 6-1, at 18 ("Fraternity Council serving hereunder shall have the
power, authority and responsibilities of and shall perform the functions provided for directors
under the Ohio Nonprofit Corporation Law.").
45
   In re Ferro Corp. Derivative Litig, No. 04CV1626, 2006 WL 2038659, at *5 (N.D. Ohio Mar.
21, 2006).
                                               25

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violation of Kappa Kappa Gamma's by-laws and standing rules", recounted their failed

efforts thus far (e.g., being "told that their values don't align with those of Kappa so they

should reconsider being in Kappa"), and requested that the Fraternity Council "legally

alter the sorority's membership requirements and conduct a valid vote in accord with

existing rules or halt the illegal course of conduct being pursued[.]" ECF No. 6-1, at 179-

80 (internal quotation marks and errant comma omitted). Rooney, Executive Director

Poole, and other Fraternity Council members are the same officers who purportedly

approved Langford; under Plaintiffs' theory, Rooney and other directors violated KKG's

bylaws46 - of course the Fraternity Council would oppose Plaintiffs' federal lawsuit.

Finding futility under Ohio Civ. R. 23.1, the Court forges on.

       2. Kappa Kappa Gamma's Freedom of Expressive Association.

       After much leadup, the Court turns to the gravamen of Plaintiffs' lawsuit. Their

derivative claim condenses to this: from 1870 to 2018, KKG defined "woman" to exclude

transgender women; any new definition may not be enacted, ultra vires, without a KKG

bylaw amendment. 47 Expectedly, Defendants counter: private organizations may interpret

their own governing documents and define "woman" as including transgender women. 48

       Defendants are correct. Defining "woman" is Kappa Kappa Gamma's bedrock

right as a private, voluntary organization- and one this Court may not invade. Below, I

apply Ohio and U.S. Supreme Court jurisprudence to the facts at bar.



46
   ECF No. 6, 11 163-65.
47
   See ECF Nos. 24, at 11-14; 6, 1104.
48
   See ECF No. 20, at 12-15.
                                             26

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       First, Ohio law is highly deferential to associational interpretation. "As a general

rule, Ohio courts are unwilling to interfere with the management and internal affairs of a

voluntary association." Redden v. Alpha Kappa Alpha Sorority, Inc., No. 09CV705, 2010

WL 107015, at *5 (N.D. Ohio Jan. 6, 2010). More specifically:

              [T]hose who become members of non-profit corporations are presumed to
              have joined them with knowledge of their nature and the law applicable to
              them, and to have consented to be bound by the principles and rules of
              government, or the policy which they have adopted, or may adopt ... [T]he
              member has, by voluntarily becoming a member of the order, chosen his
              forum for the redress of his grievances, and unless there has been some
              palpable violation of the constitution or laws ofthe corporation whereby he
              has been deprived ofvaluable rights, the civil courts will not interfere.

Powell v. Ashtabula Yacht Club, No. 953, 1978 WL 216074, at *3 (11th Dist. Dec. 4,

1978) (internal citations omitted) (emphasis added) (rejecting a member's plea to

overturn the termination of his club membership where the club met due process

requirements, including facilitating the member's presence and opportunity to be heard at

a hearing); see Stibora v. Greater Cleveland Bowling Ass 'n, 63 Ohio App. 3d 107, 113

(8th Dist. 1989) ("'A voluntary association may, without direction or interference by the

courts, for its government, adopt a constitution, by-laws, rules and regulations which will

control as to all questions of discipline, or internal policy and management, and its right

to interpret and administer the same is as sacred as the right to make them."') (quoting

State ex rel. Givens v. Superior Court of Marion Cnty., 233 Ind. 235,238 (1954))

(emphasis added); Putka v. First Catholic Slovak Union, 75 Ohio App. 3d 741, 748 (8th

Dist. 1991), cert. denied, 503 U.S. 986 (1992) ("Generally speaking, in matters of policy,

discipline or internal economy of a voluntary association, wherein the members have


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mutually agreed upon a charter or rules, the decision of the association itself is

supreme.") (internal citation omitted).

       I tum to guidance from the United States Supreme Court. In Boy Scouts ofAm. v.

Dale, 530 U.S. 640 (2000) (Rehnquist, CJ.), the Court held that the application ofNew

Jersey's nondiscrimination law, requiring the Boy Scouts to appoint James Dale, an

openly gay man as a scoutmaster, ran "afoul of the Scouts' freedom of expressive

association."49 Id. at 656. The Court found that a state compelling the Scouts to include

Dale would "interfere with the Boy Scouts' choice not to propound a point of view

contrary to its beliefs." Id. at 653-54. "[T]he First Amendment simply does not require

that every member ofa group agree on every issue in order for the group's policy to be

'expressive association.' The Boy Scouts takes an official position ... and that is

sufficient for First Amendment purposes."50 Id. at 655 (emphasis added). Chief Justice

Rehnquist concluded:

               'While the law is free to promote all sorts of conduct in place of harmful
               behavior, it is not free to interfere with speech for no better reason than
               promoting an approved message or discouraging a disfavored one,
               however enlightened either purpose may strike the government.'




49
   Freedom of expressive association is the "right to associate with others in pursuit of a wide
variety of political, social, economic, educational, religious, and cultural ends." Dale, 530 U.S. at
647.
so See also Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1149 (10th Cir. 2013) (en bane)
(Hartz, J., concurring) ("[An organization's] speech or conduct may reflect the view of only a
bare majority of the members, or even just the view of the members' delegate-such as the editor
of a newspaper or the pastor of a congregation. It suffices that the speech or conduct represents
an 'official position."') (quoting Dale, 530 U.S. at 655) (emphasis added).
                                                 28

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Id. at 661 (quoting Hurley v. Irish-Am. Gay, Lesbian, & Bisexual Grp. ofBoston, 515

U.S. 557, 579 (1995)) (emphasis added). Dale's takeaway for the Court: the government

may not defy the internal decision-making of a private organization, including the criteria

governing that entity's membership. 51

       Voluntary organizations beget benefits and drawbacks. KKG provides community

on campus and a professional network for life. 52 Forty-four women in Laramie seemingly

prioritized those benefits when they rushed. Membership, on the other hand, relinquishes

a dose of personal autonomy. That organization may say or publish something anathema

to one or a faction of members. Take the 2018 Guide, speech that Plaintiffs undoubtedly



51
   Advanced by Defendants, Bostock, by contrast, is inapposite today. See Bostock v. Clayton
Cnty., Ga., 140 S. Ct. 1731 (2020) (Gorsuch, J.). There, the Court held that "it is impossible to
discriminate against a person for being ... transgender without discriminating against that
individual based on sex" because "to discriminate on th[is] ground[] requires an employer to
intentionally treat individual employees differently because of their sex." Id at 1741-42. Justice
Gorsuch concluded that Title VII "prohibit[s] [employers] from firing employees on the basis of
... transgender status." Id at 1753. Both sides misapply Bostock. Defendants say that if the
Supreme Court interpreted "discrimination because of sex" as protecting transgender individuals,
so too may Kappa interpret its bylaws "to be similarly inclusive." See ECF No. 20, at 14.
Plaintiffs respond that the law's ordinary meaning at enactment (i.e., KKG's definition of
"woman" in 1870) "usually governs." See ECF No. 24, at 12-13. Neither argument assists the
Court today. Had the UW chapter or KKG denied Langford admission because she was
transgender, Bostock, though addressing employer discrimination, would certainly amplify. On
the other hand, Bostock concerned the Court's statutory interpretation of Title VII and not a
private organization's internal bylaws. See, e.g., 140 S. Ct. at 1738 ("[O]nly the words on the
page constitute the law adopted by Congress and approved by the President. If judges could add
to, remodel, update, or detract from old statutory terms inspired only by extratextual sources and
our own imaginations, we would risk amending the statutes outside the legislative process
reserved for the people's representatives.").
52
   In fact, each year of their KKG membership, Plaintiffs signed the following: "I recognize that
membership in Kappa Kappa Gamma offers me many benefits and the opportunity for
friendship, mutual support, personal growth and intellectual development. I understand that the
privilege of membership comes with great responsibility." ECF No. 6-1, at 163; see also 303
Creative LLC v. Elenis, 143 S. Ct. 2298, 2315 (2023) (Gorsuch, J.) ("In Dale, the Boy Scouts
offered what some might consider a unique experience.") (citing 530 U.S. at 649-50).
                                               29

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disagree with. Just as the Boy Scouts were "an expressive association" entitled to First

Amendment protection, so too is Kappa Kappa Gamma. 53 See Dale, 530 U.S. at 647-56,

650 ("It seems indisputable that an association that seeks to transmit such a system of

values engages in expressive activity."). The law, or this Court, may not interfere with-

whether promoting or discouraging - that speech. Dale controls today, interestingly with

the shoe on the other foot. 54 Whether excluding gay scoutmasters in Dale or including

trans gender women in Kappa, this Judge may not invade Kappa's sacrosanct,

associational right to engage in protected speech. KKG's "official position" of admitting

trans gender women, even if decreed by a mere "delegate", is speech which this Court

may not impinge. See Dale, 530 U.S. at 655; Sebelius, 723 F.3d at 1149 (Hartz, J.,



53
   See Iota XI Chapter ofthe Sigma CHI Fraternity v. Paterson, 538 F. Supp. 2d 915,923 (E.D.
Va. 2008), aff'd on other grounds, 566 F.3d 138 (4th Cir. 2009) (extrapolating Dale to find that
"a college fraternity is no different from the Boy Scouts"); see also Schultz v. Wilson, 304 F.
Appx. 116, 120 (3d Cir. 2008) (unpublished) ("A social group is not protected unless it engages
in expressive activity such as tal<lng a stance on an issue of public, political, social, or cultural
importance.") (internal citation omitted). The 2018 Guide was obviously such a stance by KKG.
Because this matter presents no governmental action, which, in part, distinguishes Dale, the
Court sees no reason to conduct Dale's three-step analysis regarding a group's expressive
association claim. See 530 U.S. at 650-56.
54 Plaintiffs do not engage with Dale. Had they, Plaintiffs would likely contend that the

Fraternity Council's unilateral decision to admit transgender women violated the members' First
Amendment rights because it "force[d] the organization to send a message ... that [it] accepts"
transgender women for KKG membership, belying their views. See Dale, 530 U.S. at 650; see
also Green v. Miss United States ofAm., LLC, 52 F.4th 773, 802 (9th Cir. 2022) (rejecting a
transgender applicant's plea to "use the power of the state to force Miss United States of
America to express a message contrary to what it desires to express"). Dale's posture, however,
lends little to Plaintiffs; there, the Court considered the constitutionality of a state's
nondiscrimination law compelling expression, rather than a member's challenge to an expressive
decision of their voluntary organization. See also Roberts v. U.S. Jaycees, 468 U.S. 609, 622-23
(1984) (Brennan, J.) ("There can be no clearer example of an intrusion into the internal structure
or affairs of an association than a regulation that forces the group to accept members it does not
desire. Such a regulation may impair the ability of the original members to express only those
views that brought them together.").
                                                 30

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concurring). Notably, there are also two associational layers before the Court. Not only

did KKG headquarters publish their willingness to accept transgender women in 2018,

the UW chapter voted to associate with Langford in 2022. See Dale, 530 U.S. at 658

("Impediments to the exercise of one's right to choose one's associates can violate the

right of association protected by the First Amendment.") (internal quotation and brackets

omitted). Cognizant of Langford's gender identity, the UW chapter determined that she

met their criteria for membership, including, inter alia, "integrity, respect, and regard for

others"; KKG confirmed the same thereafter. ECF No. 6-1, at 6-7. Their decisions lie

beyond the purview of this Court.

       Plaintiffs respond that Kappa's freedom of expressive association does not insulate

the organization from amendment of its own bylaws. I disagree, especially where

Plaintiffs cannot point the Court to the bylaw that defines "woman" the way they wish.

Of course, an organization binds itself via its bylaws. 55 Those bylaws state that a new

Kappa "shall be a woman". 56 ECF No. 6-1, at 6. The parties diverge from there. Whereas

Plaintiffs circumscribe "woman", their delegate augmented the same. See ECF No. 24, at

11. In the Court's view, that is a lawful interpretation - explicitly authorized per the

sorority's Standing Rules - of an otherwise-silent bylaw. See ECF No. 6-1, at 119 ("The


55 ECF No. 6-1, at 23 ("The Fraternity Bylaws shall constitute the code ofregulations of the

Fraternity.").
56
   The Court sees no reason to disturb the governance process by which the Fraternity Council
published its Position Statements in 2021 and FAQs in 2022 ahead of KKG's biennial
convention in 2022. Any issue that Plaintiffs raise with respect to KKG' s putatively improper
counting of the two-thirds vote necessary for bylaw amendment belong before the sorority, not
this Court. See also ECF No. 6-1, at 24 (mandating a two-thirds convention vote to amend a
KKG bylaw, sans any requirement regarding the Fraternity Council's method (e.g., voice or
written) of counting votes).
                                               31

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administrative duties of Fraternity Council shall include ... [i]nterpreting the Fraternity

Bylaws and Standing Rules[.]"). Plaintiffs' plea that the Court interpret "woman" as it

was in 1870 clashes with this and other Courts' deference to organizational autonomy, or

the notion that organizations deserve considerable latitude to interpret their own bylaws.

For instance, the Powell court in Ohio spotlighted an exception to courts' general

unwillingness to interfere with a voluntary association when "there has been some

palpable violation of the constitution or laws of the corporation whereby [the member]

has been deprived of valuable rights." 1978 WL 216074, at *4. Plaintiffs make no such

showing. Instead, they ask this Court to overrule one interpretation and inject another.

The Court refuses to do so.

       Though an akin bylaw-interpretation, derivative challenge is non-existent, the

Court's approach today, from a policy perspective, is practical. This Court cannot step in

every time a member, or even multiple members, cries foul when a bylaw is disparately

interpreted; if it did, KKG and its Fraternity Council would spend their days responding

to derivative suits from their thousands of current members and 210,000 alumnae. See

also Barrash v. Am. Ass 'n ofNeurological Surgeons, Inc., No. 13-cv-1054, 2013 WL

4401429, at *6 (S.D. Tex. Aug. 13, 2013) (noting that such interference would subject a

non-profit, private organization to "frustration at every tum" and cause it "to founder in

the waters of impotence and debility"). Our federal and state courts would similarly be

overrun with disgruntled members challenging large organizations. Consider, also, that

KKG supervises 140 chapters nationwide; reception of contested speech in today's

climate will obviously vary. Finally, Plaintiffs' alternative recourse lies within their

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chapter and organization, not this Court. An appeal to other chapters is one such route;

disassociation, while drastic, is another.

        In summary, the delegate of a private, voluntary organization, in pursuit of

"inclusiv[ity]", broadened its interpretation of "woman". ECF No. 6-1, at 105. The Court

will not interfere with its result, nor invade the organization's freedom of expressive

association. Accordingly, this Court dismisses Count I. 57

     D. Count II: Plaintiffs' Breach of Contract Claim.

        Plaintiffs fail to demonstrate any breach of contract. Plaintiffs allege KKG's

breach of two contracts, including Plaintiffs': ( 1) membership contracts with KKG under

Ohio law; and (2) housing contracts with KKG Building Co. under Wyoming law. 58 See

ECF Nos. 24, at 14; 6-1, at 163, 165-76. Defendants respond that Plaintiffs do not allege

any plausible breach of their housing contracts. See ECF Nos. 20, at 18; 26, at 7.

        Defendants are correct on both contracts. I begin with Plaintiffs' membership

contracts with KKG. Under Ohio law, "[t]o establish a claim for breach of contract, a

plaintiff must prove: (1) the existence of a contract, (2) performance by the plaintiff, (3)

breach by the defendant, and (4) damages or loss resulting from the breach." In re Fifth

Third Early Access Cash Advance Litig., 925 F.3d 265,276 (6th Cir. 2019) (internal

quotation omitted); Tel. Mgmt. Corp. v. Goodyear Tire & Rubber Co., 32 F. Supp. 2d

960, 969 (N.D. Ohio 1998) ("A breach of contract is a failure without legal excuse to



57
  ECF No. 6, ,I,I 159-67.
58
  Finding that KKG Building Co. was not a Fed. R. Civ. P. 19(a)(l)(B) required party within
Section A. supra, the Court dismissed KKG Building Co. from this lawsuit.
                                              33

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perform any promise that forms a whole or a part of a contract.") (internal citation

omitted). Entirely unalleged in their Complaint, Plaintiffs supplement that KKG's

admission of Langford in the UW chapter house "created a breach of contract as to ...

the sorority experience[.]" See ECF No. 24, at 14. While Plaintiffs and KKG formed a

membership contract and Plaintiffs appear to have performed, any demonstration of

element (3) is absent; Plaintiffs fail to point the Court to any contractual breach by KKG.

See ECF No. 6-1, at 163. The Court admits its confusion as to what contractual language

KKG, in Plaintiffs' view, breached. See id.; Allied Erecting and Dismantling Co., Inc. v.

Genesis Equip. & Mfg., Inc., 649 F. Supp. 2d 702, 728 (N.D. Ohio 2009) ("[W]here a

contract is clear and unambiguous, the court need not ... go beyond the plain language of

the agreement to determine the rights and obligations of the parties.") (internal quotation

omitted). If anything, the membership contract primarily outlines Plaintiffs' obligations.

See id. Plaintiffs make no effort to contend otherwise. 59 Giving effect to the membership

contract before the Court, KKG undertook no contractual obligation to reject transgender

women. Accordingly, Plaintiffs fail to allege a breach of their membership contracts.

       Reverting to Wyoming law, I tum to Plaintiffs' housing contracts. 60 Here, a breach

of contract claim consists of: (1) "'a lawfully enforceable contract;"' (2) "'an unjustified




59
   If Plaintiffs argue that KKG breached their membership contracts by redefining "woman" sans
a bylaw amendment, they, similarly, fail to direct the Court to the contractual provision within
their membership contracts that KKG allegedly violates. Even when liberally construing
Plaintiffs' Complaint to incorporate an unpled breach of contract claim, the Court cannot do
counsels' job for them.
60
   See ECF No. 6-1, at 173 ("This contract is made with reference to and shall be construed in
accordance with the laws of Wyoming in which state it shall be performed by the parties.").
                                              34

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failure to timely perform all or any part of what is promised [i.e., the breach];"' and (3)

"'entitlement of the injured party to damages."' Peterson v. Meritain Health, Inc., 508

P.3d 696, 705 (Wyo. 2022) (quoting Halling v. Yovanovich, 391 P.3d 611, 616-17 (Wyo.

2017)) (internal brackets omitted). Plaintiffs allege that KKG breached their housing

contracts by allowing transgender women to live in the chapter house in violation of

KKG's governing documents. See ECF Nos. 6, ,I,r 170-72; 24, at 14. Once again, though,

Plaintiffs fail to cite the Court to any explicit breach within the housing contracts; the

Court's analysis, thus, fails at element (2). ECF No. 6-1, at 165-76. As developed in

Section A. supra, the Court's review of the housing contract contradicts Plaintiffs. Within

those contracts, any obligations to comply with KKG's "Bylaws, Standing Rules and

Policies (' Fraternity standards')" were either undertaken by the UW chapter or Plaintiffs

themselves. See, e.g., id. at 166-67, 168 ("The student ... shall, at all times, comply with

all ... the Fraternity Standards. The student acknowledges that it is their responsibility to

seek out, read and understand ... the Fraternity standards and they agree to follow the

same."). 61 Plaintiffs fail to show how KKG's receptive stance towards transgender

women "forms the whole or part of' their housing contracts. See Reynolds v. Tice, 595

P .2d 1318, 1323 (Wyo. 1979). Nowhere in the housing contracts do the parties contract

an obligation to "provide housing in accordance with" KKG's governing documents;




61
  Separately, KKG's bylaws state that members ofKKG Building Co., described as "members
of the Fraternity", "shall agree to be bound by ... the Fraternity Bylaws, Standing Rules and
Policies." See ECF No. 6-1, at 23-24.
                                              35

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Plaintiffs may not impose such an obligation on Defendants absent from those contracts.

ECF No. 6, 1 170.

        Accordingly, the Court dismisses Count II. 62

     E. Count Ill: Plaintiffs' Tortious Interference Claim.

        Plaintiffs also fail to allege any tortious interference of contract. Plaintiffs claim

that KKG 63 tortiously interfered with their housing contracts by inducting a transgender

woman in violation ofKKG's governing documents. ECF No. 6, 11173-75. Defendants

regurgitate that, without a breach of a housing contract, there can be no tortious

interference with that contract. See ECF No. 20, at 20.

        I concur with Defendants. To show tortious interference with a contract, Plaintiffs

must allege: "(1) the existence of the contract; (2) the defendant's knowledge; (3)

intentional and improper interference inducing or causing a breach; and (4) resulting

damages." First Wyo. Bank v. Mudge, 748 P.2d 713, 715 (Wyo. 1998) (emphasis added)

(citing Restatement (Second) of Torts,§ 766 (Am. Law. Inst. 1979)). lnseverable from

the Court's analyses above, Plaintiffs make no effort to demonstrate that KKG induced or

caused a breach or termination of their housing contracts. See USI Ins. Servs. LLC v.

Craig, No. 18-CV-79-F, 2019 WL 5295533, at *9-10 (D. Wyo. Apr. 9, 2019) (rejecting a




62
   ECF No. 6, 11 168-72.
63
   The Court admits its confusion by Plaintiffs' usage, twice, of "Defendants" within Count III.
ECF No. 6, 1175. However, because Plaintiffs use "Defendant Kappa Kappa Gamma" earlier in
that paragraph and fail to clarify, even when prompted, the error in their response, the Court
construes Count III as against solely KKG. Id.; see ECF Nos. 20, at 20 n.1 0; 24, at 17 ("Plaintiffs
do allege that Kappa Kappa Gamma Fraternity has tortiously interfered with their contractual
relationship with [KKG Building Co.]").
                                                36

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tortious interference claim where a plaintiff failed to show a breach of contract "[s]ince

the third element of this tort requires an underlying breach of a contract"); ECF No. 24, at

14-20. Plaintiffs fail to even attempt their burden. See ECF No. 24; Gore v. Sherard, 50

P.3d 705, 710 (Wyo. 2002) (internal citation omitted). Given Plaintiffs' failure to allege a

breach or termination by KKG, the Court need go no further.

         Accordingly, the Court dismisses Count III. 64

      F. Count JV: Plaintiffs' Direct Claim.

         Plaintiffs fail to allege a direct claim against Rooney. Count IV appears to allege

that Plaintiffs suffered direct injuries due to KKG and Rooney's admission of Langford.

ECF No. 6, ,r,r 176-79. Defendants argue that Plaintiffs' contention that they suffered

"individual legal harm distinct" from their derivative claim on behalf of all Kappa

members is wanting. See ECF No. 20, at 20-22. Plaintiffs copy and paste allegations

within their Complaint in response. Compare ECF No. 24, at 16-17, with ECF No. 6, ,r

12.

          Plaintiffs have not shown a special duty, nor a separate and distinct injury, to

sustain their direct claim. Unlike a derivative action filed on behalf of a corporation, a

shareholder may bring a direct action "against a director or officerl65l of the corporation

' ( 1) where there is a special duty, such as contractual duty, between the wrongdoer and

the shareholder, and (2) the shareholder suffered an injury separate and distinct from that


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  ECF No. 6, ,r,r 173-75.
65
  Though Plaintiffs appear to sue KKG and Rooney under Count IV, direct actions under Ohio
law are only sanctioned against a corporation's director or officer. Cf ECF No. 6, ,r 179.
Therefore, the Court solely considers Plaintiffs' direct claim against Rooney.
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suffered by other shareholders."' Morgan v. Ramby, Nos. CA2010-10-095, CA2010-10-

101, 2012 WL 626209, at *4 (12th Dist. Feb. 27, 2012) (quoting Herman's, Inc. v. Sach-

Dolmar Div., 87 Ohio App. 3d 74, 77 (9th Dist. 1993)) (emphasis in original); see also

Heaton v. Rohl, 193 Ohio App. 3d 770, 782 (11th Dist. 2011) (noting that a shareholder

may bring a direct action where they demonstrate a special duty or a separate and distinct

injury) (internal citation omitted).

       First, Plaintiffs do not allege a special duty. Injury flowing "from a breach of

corporate fiduciary duty" - as Plaintiffs briefly allude to - "amounts to nothing more than

loss of the [non-profit corporation's] value, which is an injury shared in common with all

other stockholders," or here, KKG members nationwide, and should be brought as a

derivative action. See ECF No. 24, at 16; Barr v. Lauer, No. 87514, 2007 WL 117502, at

*2 (8th Dist. Jan. 18, 2007); Carlson, 152 Ohio App. 3d at 679 ("As a general

proposition, claims for breach of fiduciary duties on the part of corporate directors or

officers are to be brought in derivative suits."); see also Weston v. Weston Paper & Mfg.

Co., 74 Ohio St. 3d 377, 379 (Ohio 1996) (rejecting plaintiffs' argument that breach-of-

fiduciary-duties claims against corporate directors should be allowed as a direct action in

the absence of injury separate and distinct from the corporation). Moreover, for reasons

articulated in Section C. above, Plaintiffs have not shown that Rooney breached any

fiduciary duty to Plaintiffs by interpreting "woman" expansively.

       Second, they also do not demonstrate a separate and distinct injury. Plaintiffs

allege that their "loss of privacy, frustration of contractual expectations, and emotional

distress" from Langford's induction are unique injuries. ECF No. 6, 1179. However,

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Plaintiffs sue Rooney, not their sorority sister; thus, only their frustrated contractual

expectations merit consideration. Under Plaintiffs' theory, Rooney's actions contravene

their pre-rush intent to join an organization that excludes transgender women. Yet, injury,

if any, from Rooney's purported orchestration of Langford's admission inured to all

KKG members alike, whether in Laramie or beyond, not merely Plaintiffs. In other

words, Plaintiffs' putative injury - association with a trans gender woman - technically

affected all KKG members. Therefore, Plaintiffs' claims at bar, forgoing their determined

unviability, belong as a derivative suit rather than a direct action. See Grand Council of

Ohio v. Owens, 86 Ohio App. 3d 215,220 (10th Dist. 1993) (determining that plaintiffs

brought a derivative claim by "look[ing] to the nature of the alleged wrong rather than the

designation used by plaintiffs"). Therefore, Plaintiffs fail to plead a special duty, nor a

separate and distinct injury, to sustain their direct claim.

       Accordingly, the Court dismisses Count IV. 66

   G. Dismissal without Prejudice and Langford's Motion to Dismiss (ECF No. 22).

       Finally, Defendants argue that the Court should dismiss Plaintiffs' claims with

prejudice. See, e.g., ECF Nos. 20, at 22; 26, at 10. '"[A] dismissal with prejudice is

appropriate where a complaint fails to state a claim under Rule 12(b)(6) and granting

leave to amend would be futile."' Seale v. Peacock, 32 F.4th 1011, 1027 (10th Cir. 2022)

(quoting Brereton v. Bountiful City Corp., 434 F.3d 1213, 1219 (10th Cir. 2006) (internal

citation omitted)) (emphasis in original) (brackets omitted). Defendants make no effort to



66 ECF No. 6, ,, 176-79.


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argue futility and do not otherwise explain why dismissal with prejudice is appropriate;

accordingly, the Court will dismiss Plaintiffs' claims without prejudice. 67

        Furthermore, due to the Court's dismissal today of Plaintiffs' four claims, the

Court also dismisses Langford's Motion to Dismiss (ECF No. 22) as moot. 68


                                         CONCLUSION

       For the foregoing reasons, Plaintiffs' four claims fail. Pursuant to Fed. R. Civ. P.

12(b)(l), Defendant KKG Building Co. is dismissed. Pursuant to Fed. R. Civ. P. 12(b)(6),

Plaintiffs' four claims against Defendants KKG and Rooney are dismissed without

prejudice.

       Therefore, IT IS HEREBY ORDERED that Defendants', Kappa Kappa Gamma,

Rooney, and KKG Building Co., Motion to Dismiss (ECF No. 19) is GRANTED.




67
   If Plaintiffs wish to amend their complaint, the Court advises Plaintiffs that they devote more
than 6% of their complaint to their legal claims against Defendants. It also counsels Plaintiffs to
provide more factual detail, where feasible, as well as highlight the Defendant(s) it sues under
each count and relevant state statutes and authority. Finally, if provided another opportunity to
clarify unclear language within an amended complaint, Plaintiffs should not copy and paste their
complaint in lieu of elaboration or legal research that assists the Court in disentangling their
claims. See, e.g., ECF No. 24, at 14, 16-19.
68
   Langford moves to dismiss herself because, inter alia, she is not a Fed. R. Civ. P. 19(a)(l)(B)
required party. See ECF Nos. 23, at 4; 27, at 2, 4. Plaintiffs respond: "if Langford stipulates that
[s]he is not a required party, Plaintiffs would support h[er] dismissal." ECF No. 25, at 13 n.4.
Langford did not reply. ECF No. 27. Without addressing the substance of Langford's motion, the
Court notes the irrelevancy of Langford's alleged behavior. The crux of Plaintiffs' lawsuit is
their derivative claim against Rooney and contractual claims against KKG. Unbefitting in federal
court, Langford's unsubstantiated behavior at the UW chapter house has no bearing on Plaintiffs'
legal claims. The Court, however, acknowledges that Plaintiffs' requested relief seeks to void
Langford's KKG membership.
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      Furthermore, IT IS HEREBY ORDERED that Plaintiffs' First Amended Verified

Member Derivative Complaint for Breach ofFiduciary Duties (ECF No. 6) against

Defendants is DISMISSED WITHOUT PREJUDICE.

      Finally, IT IS HEREBY ORDERED that Defendant Langford's Motion to

Dismiss with Prejudice (ECF No. 22) is DISMISSED AS MOOT.

      IT IS SO ORDERED.



                   ~~
      Dated this 2 ~ day of August, 2023.


                                               ~#,/1;):k.,~
                                              Alan B. Johnson
                                              United States District Judge




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